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                Exhibit 347
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·1· · · · · · STEVEN K. BANNON:· Welcome.· Hey, tonight,
·2· it's Steven K. Bannon We're going to have Mike Lindell.
·3· This is a film, Absolute Proof.· We're going to try to
·4· deconstruct it tonight like NFL or college game film, go
·5· through it.· It's the most controversial film in the
·6· world.· It's being suppressed by the social media
·7· giants, the big tech giant and also the mainstream
·8· media.· So Mike Lindell, he's agreed that tonight we're
·9· going to go through -- I'm going to ask the tough
10· questions, and we're going to see exactly what this film
11· is and the evidence that backs it up.· The movie is
12· Absolute Proof.
13· · · · · · Mike Lindell.· Mike, it took you awhile to
14· kind of get here.· You came on the scene back in
15· 2016, and then you had some other involvement with
16· President Trump that you actually saw what happened,
17· when anybody gets involved on the national political
18· stage, what's happened.· So I think we've got a
19· couple of pictures and clips we want to show at the
20· very beginning.· I'd like you to respond to those, so
21· then we can kind of get into the film and people can
22· understand this really, this beat down you're getting
23· from the mainstream media and the beat down you're
24· getting from the big tech oligarchs.· Can we play --
25· can we show the first picture?


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·1· · · · · · MIKE LINDELL:· Yeah.· Now, this picture here,
·2· everyone's got to realize, I knew nothing -- I'm sorry.
·3· Start that over.· I'll just -- should I just keep
·4· talking?· Okay.
·5· · · · · · So what you're seeing here is a picture of
·6· the President before he was president.· This is the
·7· summer of 2016.· I had never met Donald Trump.· I was
·8· an ex-addict, ex-crack addict.· You know, God freed
·9· me of that January 16, 2009, so I didn't really pay
10· attention to politics.· I didn't know much about
11· them, and he reached out to me.
12· · · · · · We had that private meeting for about a
13· half hour.· He said Mike, you do your manufacturing
14· here.· I want to bring the jobs back.· We talked
15· about yeah, I was an ex-addict.· I said I'm going to
16· have this recovery network that's going to help
17· millions.· He says I'm going to stop the jobs -- I
18· mean the drugs pouring in, and we had these amazing
19· back and forth conversation.
20· · · · · · But when I left there I'm going wow, he has
21· no agenda other than to help this country, and he
22· actually listened to a businessman of, you know, took
23· his input.· And I walked out of there.· He's going to
24· be the greatest president ever.
25· · · · · · But I went and talked to his employees, and


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·1· each one of them said the same thing, great boss,
·2· great guy, had done something for him personally.· So
·3· I did my due diligence to make sure what I just seen
·4· was, you know, was amazing.· And I got back to
·5· Minnesota, and this is very key.· I couldn't wait to
·6· tell the media and to tell everyone what I had just
·7· experienced there and how, you know, you've got to
·8· get behind the guy.· He's going the best.
·9· · · · · · I ended up doing a press release against my
10· board's advice.· They said don't do that.· You know,
11· we're going to -- you know you're going to lose half
12· our customers.· And I actually walked out of the
13· board room, and one of the gals came out.· She says
14· we didn't get all this way by you not listening to
15· God.· And I went back in there and I said we're going
16· to do this press release, and I did it, and it was
17· crickets, and then it happened.· I was attacked in
18· social media.· I was called a racist, I was called
19· stuff I can't even say here by these bots and trolls,
20· but I thought they were real people.· I thought they
21· were real people and it just hurt me.
22· · · · · · I'm going what did I do.· I didn't even say
23· what we had talked about.· But I did find out, you
24· know, I found out wow, they're not real people and
25· they're just these to robots that they do an attack,


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·1· but I didn't know that at the time.· It was a very,
·2· very learning experience, and it still, you know,
·3· some of them were real because they would jump on the
·4· band wagon, but that was my first experience and
·5· then -- because I had four now.· This is the fourth
·6· one.
·7· · · · · · The second one was last spring, which we
·8· had -- I spoke at the Rose Garden, and I think we
·9· have that clip.
10· · · · · · · · · · · · · · · *
11· · · · · · ·God gave us grace on November 8, 2016 to
12· change the course we were on.· God had been taken out
13· of our schools and lives.· A nation had turned its
14· back on God.· And I encourage you, use this time at
15· home to get back in the word.· Read our Bibles and
16· spend time with our families.
17· · · · · · Our President gave us so much hope where
18· just a few short months ago we had the best economy,
19· the lowest unemployment and wages going up.· It was
20· amazing.· With our great president, vice president
21· and this administration and all the great people in
22· this country praying daily, we will get through this
23· and get back to a place that's stronger and safer
24· than ever.
25· · · · · · · · · · · · · · · *


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·1· · · · · · STEVEN K. BANNON:· So Mike, tell us what
·2· happened after that, after you read some Bible verse and
·3· talked from your heart in the Rose Garden, how intense
·4· was the blow back then?
·5· · · · · · MIKE LINDELL:· It was beyond belief.
·6· Everyone, night time talk show hosts, people on CNN,
·7· Mike Lindell talked about the Bible, talked about
·8· spending time with our families, talked about getting in
·9· the word.· You would think I killed somebody.· They just
10· attacked me relentlessly.· I did 109 interviews in five
11· days.
12· · · · · · Now, granted all the people over here, you
13· know, everyone's going, it was like -- almost like
14· over here they'd stick up for me, but once again it
15· was bots and trolls.· There were even real people,
16· the news media, the mainstream media, they were the
17· biggest attackers there.· And the night time talk
18· show hosts, they all just piled on like it was the
19· worst thing you could ever do.· And I thought okay,
20· you know.· What did I do?· Is that so bad, reading
21· our Bibles, getting the nation to turn its back on
22· God and spending time with our families?· So that was
23· my second thing.
24· · · · · · And then the third time was this summer and
25· this -- where the guy called me up and he had


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·1· something that would help.· Everyone was calling me
·2· for everything to help this vaccine -- I mean, the
·3· virus and mass.· I got so much involved with this
·4· virus, and here this guy came to me and says hey,
·5· this stuff works.
·6· · · · · · So I went on CNN because it had leaked to
·7· them, and I thought it was just going to be a
·8· friendly three-minute, four-minute interview and
·9· here's what happened.
10· · · · · · · · · · · · · · · *
11· · · · · · ANDERSON COOPER:· How are you different than a
12· snake oil salesman?· You're willing to promote
13· anything -- I don't even know who you are.· You really
14· are like a snake oil salesman.· You don't have a great
15· reputation.· You don't have a great reputation.
16· · · · · · MIKE LINDELL:· Oh, really?· You're in my
17· prayers, Anderson.
18· · · · · · ANDERSON COOPER:· Sir, that's just sad.
19· That's sad.· For a man to profess his faith, for you to
20· lie like this is really extraordinary.· It's a complete
21· lie.· That is just a bald-faced lie because you're a
22· snake oil salesman take this product.· You're desperate.
23· · · · · · MIKE LINDELL:· You're calling me names.
24· · · · · · ANDERSON COOPER:· It's kind of morally
25· bankrupt.· You know how to sell something.· You know how


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·1· to promote something.· I guarantee you I would not be
·2· taking medical advice from you, sir.· I can promise you
·3· that.
·4· · · · · · MIKE LINDELL:· I will say -- let me finish my
·5· answer.
·6· · · · · · ANDERSON COOPER:· I just think it's shameful
·7· what you're doing.· You now make money manufacturing
·8· masks, right?
·9· · · · · · MIKE LINDELL:· No.· I gave away four million
10· dollars out of my own pocket.· That's a fallacy.
11· · · · · · ANDERSON COOPER:· Well, that's nice.· That's
12· good.· That's impressive.
13· · · · · · MIKE LINDELL:· And you can check those facts.
14· Four million dollars out of Mike Lindell's pocket
15· donated.· I'm praying for you, Anderson, that you have
16· me back on your show.
17· · · · · · · · · · · · · · · *
18· · · · · · STEVEN K. BANNON:· So Mike, that's pretty
19· intense.· That's what we call a pretty tough interview.
20· But even with that intensity, that's nothing for what's
21· happened to you over the last couple of weeks.
22· · · · · · MIKE LINDELL:· You know, and back then, you
23· know, he's attacking me for the Myoleander.com.· He's
24· attacking me for something.· All these things I was
25· doing was just good things.· What was wrong with that?


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·1· And now you take all three of those times, multiply it
·2· by ten, and then times it again by ten.· This is what's
·3· happening right now to me, to my company, to my family,
·4· to my -- you name it, to me personally.· They're going
·5· after my reputation.· They're boycotting.· I mean, it's
·6· just across the board, social media, Twitter.· Twitter's
·7· taken me down and my company.· Google suppressed my ad
·8· words.· I can't even buy my own name.· I get to buy an
·9· ad word after spending $20,000.· Last Friday when this
10· Absolute Proof came out I was kept hidden from my own
11· name against nobody.· Finally it got up to a dollar a
12· click if somebody wanted to find it and they shut it
13· down, said no because they're probably going --
14· · · · · · STEVEN K. BANNON:· Mike, I want to get into
15· the film, but here's the question at the start of it.
16· We're going to have some tough questions as you show
17· some more evidence, but here's what people want to know.
18· Are you going to back off?· Is Mike Lindell -- you're
19· being attacked nonstop.· They're attacking your company,
20· they're attacking your recovery network, your family,
21· your vendors, your employees.· To start this film off,
22· what people want to know, are you going to back down one
23· inch about getting the truth out there?
24· · · · · · MIKE LINDELL:· Never.· Absolutely never.· This
25· isn't about -- I don't care if you're a Democrat or a


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·1· Republican.· This was an attack on our country.· These
·2· Dominion machines and Smartmatic, these machines that
·3· were the tools of this attack, and we will never have
·4· another fair election if we don't stop that, so I will
·5· never back down.
·6· · · · · · STEVEN K. BANNON:· So you're not going to back
·7· down.· Let's start the film.· We're going to come in at
·8· different breaks in the film, explain what happened,
·9· talk about more evidence, ask you a few tough questions,
10· so let's get into it.
11· · · · · · · · · · · · · · · *
12· · · · · · MIKE LINDELL:· Hello, everyone.· This is Mike
13· Lindell, the CEO of My Pillow.· As you all know, I have
14· been attacked the last month relentlessly on social
15· media, by newspapers, by TV shows, by you name it, I've
16· been attacked, and myself, not just myself but my
17· company.· The boycotts that are going on, box stores are
18· dropping me, social media, they canceled my Twitter.
19· Today they canceled My Pillow's Twitter account, my
20· company's Twitter account.
21· · · · · · Well, before I was going to get erased
22· completely we put together this show, and what you're
23· going to see today is what they don't want you to
24· see, why they're trying to erase me.· And what I told
25· everyone out there is you know what, I seen evidence.


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·1· I've been trying since November 4th to prove, you
·2· know, to show what's out there, why these deviations
·3· that happened on election night, and none of it made
·4· any sense.· So I dove all in with everything I had,
·5· resources.· Any time I heard something that maybe was
·6· relevant I went and looked into it, did my own due
·7· diligence, had even my own investigations.
·8· · · · · · Well, the one day, I think it was like
·9· January 9th, all of a sudden they brought me a piece
10· of evidence that's one hundred percent proof.· It's
11· like a print inside the machine of a time stamp that
12· showed other countries attacking us, hacking into our
13· election through these machines, and it shows the
14· votes flipped, and I'm going wow, I've got to get
15· this out there.· And from that point on I started
16· putting it out there, and that's when they just
17· started attacking me.
18· · · · · · Well, they obviously are hiding something,
19· and tonight you're going to see what they're hiding.
20· You're going to see on this show, we're going to have
21· cyber forensic experts, we're going to have one
22· hundred percent you're going to see all this evidence
23· that by the time you're done seeing it you're going
24· to go wow, one hundred percent it proves exactly what
25· happened, that these machines were used to steal our


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·1· election by other countries, including China.
·2· · · · · · But I do want to tell you before we get
·3· into all that, I want to tell you why I'm so happy
·4· today about two miracles that happened these last
·5· couple months.· The first miracle was on election
·6· night, and on election night at 11:15 at night the
·7· algorithms of these machines broke, basically broke,
·8· and this will be explained during this show, but they
·9· broke.· What that means is Donald Trump got so many
10· more millions of votes that they don't expect that
11· they're going to have to go recalibrate, right.· So
12· that's why all these states shut down.· All of a
13· sudden they all shut down.· And we're all going what?
14· That's weird.· This has never happened in any other
15· election.· And then we're going okay.· Then as the
16· days went on, what?· Another week that it takes, you
17· know, like Arizona to count one percent of their
18· vote, and you see these big spikes in Michigan, all
19· these votes that were pouring in.· Nobody understood
20· it, right.· We're like living in this kind of
21· twilight zone during that time.
22· · · · · · Well, that is one miracle there because
23· think if that wouldn't have happened.· Think if they
24· would have estimated right and what would have
25· happened is it would have been just like a normal


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·1· election.· At 3:00 in the morning they would have
·2· said oh, Biden won.· He won by a little bit, and we
·3· would have said oh, better luck next time.· But
·4· because he got so many votes it broke that and set
·5· off this series of events of these deviations.· If
·6· that wouldn't have happened, we wouldn't be here
·7· talking about the biggest attack in history, the
·8· biggest cyber attack ever.· You know, the American
·9· dream would have been gone forever because we would
10· have never known.· They were just using machines.· It
11· would have took us over forever.
12· · · · · · Here comes the second, the second miracle.
13· And with this one I've got to show you here on the
14· chart.· I'm going to go through these and I'm going
15· to tell you why this is a miracle.· Okay.
16· · · · · · What we're going to do here is we're going
17· to go state by state and we're going to show you what
18· else happened.· So here is Arizona.
19· · · · · · Okay.· The margin of victory was ten
20· thousand votes that Biden they say by won.· Now if we
21· look at this, let's go down the chart here.· Mail-in
22· ballots required adjudication.· Almost 300,000.· What
23· these mean, these are votes that they put through,
24· and you're going to learn all about that during this
25· show too, adjudication and how that works, but let's


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·1· just going to the next one.
·2· · · · · · Illegal aliens voting.· 36,400 illegal
·3· aliens voted.· You see that?· He only lost by ten
·4· thousand.· Boy, of course they can't vote.· Okay.
·5· Donald Trump wins Arizona, right?· We'll just keep
·6· going.
·7· · · · · · Voters registered to a vacant lot, 2,000.
·8· Completed mail-in ballots received the day before the
·9· ballots were even mailed.· They got 22,000 ballots
10· back in Arizona before they even mailed the ballots
11· out.· What?· That's kind of bizarre, right?
12· · · · · · Okay.· Keep going.· Down here, Maricopa
13· County, electronic an adjudicated ballots, 103,000.
14· Votes loaded before opening of poles.· So the votes
15· were even loaded.· They were already in there before
16· the poles even opened 50,000.· Okay you see all that.
17· · · · · · Let's go to the next state here.· I'm going
18· to skip Georgia and come back to it.· Scroll to
19· Michigan.· Michigan dead voters, 17,367, and this
20· is -- Michigan is kind of its own -- he we're going
21· to talk about Michigan.· It's very different than the
22· other states what went on there, so it's all grouped
23· together.· 615,000 votes that are just in question,
24· and we're going to skip that part, okay.
25· · · · · · Let's go to the next one here Nevada.


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·1· Okay, here's Nevada.· Illegal aliens that voted in
·2· the election, 4,000.· Mail-in or a absentee ballots
·3· for voters that were known to have voted in other
·4· states, 15,000.· Clark County, signature
·5· verification, weren't up to the image quality that
·6· was suggested by the manufacturer and to check the
·7· mail-in ballots signature, 130,000.· We'll just skip
·8· through that.· Raffle tickets that they were
·9· incentivized, 500.
10· Here we go.· Here's a big one.· Dead people who
11· voted, 1,506.· NonNevadians who voted in Nevada.
12· They don't even live in Nevada, 19,218.
13· Voters who double voted, 42,284.
14· · · · · · Okay.· As you can see, they add up to over
15· 200,000.· Donald Trump lost by 34,000 votes, okay.
16· · · · · · Let's go to the next one, Pennsylvania.
17· Mail-in votes that counted without a Republican
18· observer.· We all heard that stuff.· It's well over
19· 600,000.· Mail-in ballots 68.
20· · · · · · Here's another one too.· You're going to
21· here a lot about this during this thing.· Let's go
22· down, poll workers that voted with various errors in
23· the bins.· This is the one where we heard the fake
24· ballots that were driven from New York to
25· Pennsylvania.· You'll hear a little bit about that in


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·1· the show too, but we're going to go by Pennsylvania.
·2· · · · · · You can all see it adds up to 866,000.
·3· Donald Trump lost by 68,000, and there will be a
·4· point to all this I'm getting to.
·5· · · · · · Okay.· Here's Wisconsin.· Wisconsin.· Surge
·6· of identic combined voters in 2020.· That would take
·7· awhile to explain, but there was 130,000.
·8· · · · · · U.S. Postal Service backdated ballots, a
·9· hundred thousand.· Okay.· That's incredible if you
10· actually look into it.
11· · · · · · The mail-in ballots entering the tabulation
12· under the guise of absentee ballots in clear
13· violation of state law, 170,000.· Okay.· The margin
14· of victory for Biden was 20,000 votes.
15· · · · · · Now we're going to go to back to Georgia.
16· Okay.· Everyone knows the President called the
17· secretary of state in Georgia, and on that call he
18· was listing these to the secretary of state.· He said
19· okay, you have felons with incomplete sentences that
20· voted and cast their vote 2,560.· Underage children
21· that registered to vote and illegally voted, 66,247.
22· Unregistered voters who voted, 2,423.· Registered
23· voters who voted in another state after their Georgia
24· registration date 4,926.· Voters who voted in Georgia
25· and also voted in another state, 395.· Voters who


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·1· voted in Georgia but changed their address before the
·2· election to do it, 15,700.· People who failed to
·3· preregister to vote in their county in time after
·4· moving from one county to another, 40,279.· Voters
·5· who illegally claimed a post office box as their
·6· residence, 1,043.· Voters who registered too late to
·7· vote in the election, 98.· People who died prior to
·8· the election.· They were already dead, 10,315.
·9· · · · · · Okay.· Ballots with no chain of custody.
10· We'll probably talk a little bit about that in this
11· show too, 600,000.· And here's what the president
12· said to the secretary of state in Georgia.· Can you
13· just give us -- why don't you just give us your dead.
14· He only lost by 11,730 votes.· He said how about you
15· just give us your underaged that voted or your dead
16· people and we win.· It didn't make sense.
17· · · · · · You say how about this.· This line here,
18· people who failed to register, 40,000.· Can you just
19· give us that.· He said -- he named the columns, and
20· you know what the secretary of state of Georgia said
21· those numbers are wrong.· And the president said
22· well, who gave us the numbers.· He asked his guy, and
23· that guy said we got them from the secretary of
24· state's office.· And the President said to the
25· secretary of state well, when can we get the right


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·1· numbers.· And the other guy said sir, we've been
·2· trying to get them from the secretary of state for
·3· almost two months.
·4· · · · · · And the point being here, now here comes
·5· the point I'm making.· This is all the second miracle
·6· of the election.· Every one of these states should
·7· have been -- two plus two is four, right?· You
·8· shouldn't say okay, you can't count dead people, you
·9· can't count underage people.· Every one of these
10· states Donald Trump wins if the electors would have
11· done their job, the legislators, if the governors
12· wouldn't have said you know, hey, it's good.· All
13· these things that happened, all these anomalies that
14· happened, it would have never happened before.· Much
15· less one state, they all say that.· Hey, we're going
16· to go ahead and use this stuff, and we're going to
17· declare Joe Biden the winner.
18· · · · · · But here's the big thing, the big miracle.
19· If they would have done that, if they would have done
20· that and said you know what, we can't count these.
21· Mr. Trump wins.· Donald Trump wins, then we wouldn't
22· be where we're at right now because the biggest thing
23· against humanity in our country is this attack
24· through these machines.· They got -- this opened up,
25· this revealed the machines to where we're at right


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·1· now.· So what you're going to watch during this show
·2· is one hundred percent proof that the big thing was
·3· the theft by these other countries that came in to
·4· attack our country through these machines that are
·5· made to steal elections.· Every election going
·6· forward in history, if these things wouldn't have
·7· happened we would have never known.· Every single
·8· vote you would have ever made wouldn't have mattered.
·9· somebody else would have made that vote.· And we've
10· all seen in this past month, do you think it was a
11· Communist coming in and taking us over with people
12· here.· This is an attack not only those other
13· countries with Communism, but they had domestic
14· traitors right here in our country.· Whatever's going
15· on right now, we're seeing it.· They're
16· suppressing -- cancel culture.· They're trying to
17· cancel us all out.
18· · · · · · I just seen churches, the Christian
19· churches, they're being attacked right now.· People
20· on social media, anyone that speaks up they're going
21· you can't say that.· You're gone.· It's like right
22· now they're doing whack a mole because they knew they
23· were so close, so close that we would never know in
24· history what happened.· But guess what, now we do
25· know, and you're all going to know.· And when you


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·1· watch this and you get through it, at the end I'm
·2· going to tell you what you can all do.· And we're
·3· going to start our show right now, and you guys are
·4· going to be absolutely amazed.
·5· · · · · · · · · · · · · · · *
·6· · · · · · STEVEN K. BANNON:· Okay.· There was a lot to
·7· go through there, Mike.· But before we get to the
·8· numbers, because remember Congressman Eric Swalwell in
·9· the well of the senate on the opening day of the
10· prosecution said that all these numbers are lies, that
11· Donald Trump lied about all these numbers, all this
12· stuff about voter fraud and you know, illegal aliens
13· voting and underage people voting and dead people
14· voting, it's all made up, it's all nonsense.
15· · · · · · So you talk about two miracles in this
16· section.· Explain that, why that's so important, and
17· then I want to ask you about the math.
18· · · · · · MIKE LINDELL:· Okay.· Well, first I want to
19· say all the numbers I have came from the secretary of
20· state.· These were validated numbers.· But what I want
21· to talk about, the two miracles that I brought up here
22· is the first miracle was the night of the election at
23· 11:15 it broke the algorithms in the machine because
24· they didn't expect Donald Trump would get millions more
25· votes than what they predicted.· By doing that, they


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·1· didn't have enough track left to do the steal because he
·2· would have won anyway.
·3· · · · · · Now if that happens, if they predicted
·4· right, at 3:00 in the morning all the states would
·5· have been in, everybody went to bed saying oh, better
·6· luck next time.· But by them breaking that, everybody
·7· had to go into reactionary mode, so you see these
·8· deviations, this big spike in Michigan and Arizona
·9· taking a week to count the last one percentage and
10· Georgia taking who knows how long.· These are all
11· deviations, so that's miracle number one.· If that
12· didn't happen, we would have never known about the
13· machines.
14· · · · · · Now the second miracle is this.· All these
15· stats you see of the dead people and all these on the
16· board here.· Let's just say that they're a hundred
17· percent accurate.· Donald Trump would win and he
18· would have been put back into place as the rightful
19· winner.· But I'm saying I'm glad he did because if he
20· did, we would have never known the big gorilla in the
21· room is the machines that would have stole our
22· elections forever.· We wouldn't be where we're at
23· right now.· So by everybody not doing their jobs, the
24· legislators, the governors, the secretary of state,
25· that's a miracle that they all did the same thing and


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·1· they did nothing.· They did nothing because that's
·2· why we're here tonight to show you that the big theft
·3· is the machines and an attack on our country.· That's
·4· the miracle.· If that all wouldn't have happened, and
·5· I know that's a twisted way to look at it, but it's
·6· true.
·7· · · · · · STEVEN K. BANNON:· On January 6th they're
·8· making the scene to impeach President Trump.· If you go
·9· back and you look at your numbers, whether it's
10· Wisconsin with 20,000 votes, Georgia I think at 12,500
11· Arizona at around 8300, there's enough just in the low
12· hanging fruit, just in the additional voter fraud you
13· would agree that if you press the case here, leave the
14· machines aside.· The machines are an issue you want to
15· deal with because you've got to get them out of there
16· for future elections.· But just with the math you have,
17· if you could prove that Eric Swalwell was wrong and
18· these numbers are right, Donald Trump would be president
19· of the United States.· Do you agree with that?
20· · · · · · MIKE LINDELL:· A hundred percent.· He did it
21· in Georgia when he talked to Brad Rutherford or whatever
22· his name is, Ratsaford.· Everyone in the whole country
23· heard that, and the President's going just give us how
24· about your dead people and your minors.
25· · · · · · STEVEN K. BANNON:· But Mike, you've got to


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·1· answer for the audience, I think.· Why is Raffensperger
·2· and these election officials in Arizona, in Georgia, why
·3· are they not stepping up and agreeing with you and MAGA
·4· and myself and others and say yes, there is traditional
·5· voter fraud of such an extensive thing like underage
·6· voting, illegal alien voting, why are elected Republican
·7· officials, why don't they agree with Mike Lindell?
·8· · · · · · MIKE LINDELL:· Well, you know what, I'm glad
·9· they don't because if they did their job, Donald
10· Trump -- we wouldn't even be here talking, and then the
11· world would have been over because no election would be
12· safe ever again, what you're going to see here tonight.
13· I don't know why they did it.· I'm here tonight to tell
14· the facts, and I could -- believe me, I could give you
15· all kinds of opinions on Brian Kemp and Doug Ducey and
16· all these Republicans and these secretaries of state,
17· but I'm not here.
18· · · · · · what I want you to see here tonight is a
19· hundred percent fact, and that's what I'm going to
20· put out there.· Whatever reason they did it, that
21· will come out.· That's all going to come out.· Why
22· did you do this to the American people.· Why did
23· these people, and you're going to find out from
24· watching our show tonight, this attack my China and
25· this coming into our country, but there were people


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·1· here in the United States that were their partners,
·2· and I don't know who's whose partner or whatever.· My
·3· thing is to get to a hundred percent show you that
·4· this attack happened, came through the machines, and
·5· there was a massive flip, and you will never have an
·6· election again if you use these machines.
·7· · · · · · STEVEN K. BANNON:· Okay, Mike.· Now we're
·8· going to get into the cyber warfare, the cyber attack
·9· part of this film with Colonel Waldron and others.
10· Let's go back to the film Absolute Proof with Mike
11· Lindell.· You're going to see Colonel Waldron right now.
12· · · · · · MIKE LINDELL:· And now we have with us Colonel
13· Phil Waldron.
14· · · · · · COLONEL WALDRON:· Yes.· My background in the
15· military is with influence operations, informational
16· operations, information warfare if you will.
17· · · · · · MIKE LINDELL:· You know, what we're talking
18· about here today is specific, these machines that were
19· used to hack into our election and by foreign countries
20· including China.· What did you -- kind of bring us up
21· through the election for yourself and how you've gotten
22· so involved right now.
23· · · · · · COLONEL WALDRON:· Now we began working with
24· our partners in Dallas at Allied Security Operations
25· Group with doing some analysis on the data that that


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·1· they had, looking at not only Dominion but ES and S and
·2· Hart, some of the other learning management systems, and
·3· we saw a lot of similarities and vulnerabilities in the
·4· systems that would be easily influenced or easily
·5· interdicted.· And again, as an information warfare
·6· officer that's what I did.· I looked for vulnerabilities
·7· and ways to attack systems to create a strategic
·8· advantage for U.S. friendly forces.· And so when we
·9· started seeing the vulnerabilities and all the other
10· different ways that you could interdict these electronic
11· anything voting systems, it became apparent that we had
12· a problem for the November 3rd election, and that
13· prompted us to spend a lot of time working with Russ
14· Ramsland getting a lot of historical data, the
15· knowledge.· We started working on our own, really a lot
16· of connecting the money exercise.
17· · · · · · · · · · · · · · · *
18· · · · · · STEVEN K. BANNON:· That's not the way the
19· system works.· So you've got Homeland Security who's in
20· charge of their Trump guys, and you've got the CEO
21· (inaudible) from Dominion says hey, it can't be a band
22· width thing that Waldron and these guys are tracking, so
23· it doesn't happen.· What would you tell the audience,
24· and then how are you going to back up these assertions
25· by Colonel Waldron, the cyber warfare expert?


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·1· · · · · · MIKE LINDELL:· Well, I'll tell you.· If you're
·2· caught cheating at a poker game, what do you do?· Of
·3· course you start lying, and they're all liars there.
·4· They're lying.· They're bald-faced lying.· I mean, the
·5· easier part of it not going online if you're Dominion or
·6· Smartmatic.· I mean, that's been proven ten times over.
·7· So if you lie a little bit, usually you're lying a lot.
·8· And is this all going to come out.· When you asked me
·9· about that are other guy.· You know, that remains to be
10· seen.· Is he really that naive that he doesn't know what
11· happened, or is he lying and then you know what, what do
12· you lie for.· You usually lie to cover something up.
13· · · · · · You know, I have went out here with
14· everything I have because I'm a hundred percent, one
15· hundred percent that we have all the proof.· That's
16· why it's called Absolute Proof, one hundred percent.
17· · · · · · STEVEN K. BANNON:· We're going to go to the
18· next segment because I want to get through this within
19· the three-hour time frame, but you're committed to put
20· additional information online to back up some of these
21· assertions as you get closer to some of these court
22· cases, particularly the Supreme Court?
23· · · · · · MIKE LINDELL:· Well, you know, this is the
24· whole thing we're here tonight for.· We need the Supreme
25· Court to accept what you're going to see here tonight


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·1· because there's all kinds -- what you're going to see
·2· here tonight, multiply that by a hundred is what we have
·3· is what's out there.· Everybody came to me.· You've got
·4· to realize, they go how did you get that, Mike.
·5· Everybody came to me because nobody could get the word
·6· out.· You couldn't get it out.· You just got squished.
·7· · · · · · You know, someone raised their hand and go
·8· hey, I've seen this machine and it does this and I
·9· looked at it and we did this.· (Sound.)· You know, I
10· said hey, I seen this.· (Sound.)· So, you know, they
11· had to come to me because they knew I wasn't going to
12· back down and I had the platform.· Even my platform,
13· that's why they're trying to smash it, but they're
14· having a hard time.
15· · · · · · STEVEN K. BANNON:· Yeah.· I'll tell you what.
16· We've got Russ Ramsland now from the Allied Security
17· Operations Group.· Let's hear the segment here.· Mike
18· Lindell now.· We'll join you right after this segment.
19· · · · · · · · · · · · · · · *
20· · · · · · MIKE LINDELL:· So now we have with us Russell
21· Ramsland.· He's a founding member of Allied Security
22· Operational Group.· They're based in Dallas, Texas, and
23· they do cyber forensics and security.· Russell, how are
24· you involved with all this election fraud?
25· · · · · · RUSS RAMSLAND:· Well, it's interesting, Mike.


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·1· It's been long roads for us.· About two years ago we had
·2· some logs from the Dallas general election brought to us
·3· from the central tabulation server, and people ask what
·4· do these logs mean.· It was about 1100 pages and we got
·5· looking at them and we were horrified at what we found
·6· because what we found were that people were getting into
·7· the system and they were changing the votes.· They were
·8· erasing databases, they were reloading them, and it was
·9· coming from remote locations and this can't be.
10· · · · · · MIKE LINDELL:· Now, this is in 2018.· So these
11· guys came here to you, and these were voting machines.
12· Were they Dominion machines?
13· · · · · · RUSS RAMSLAND:· No.· We use ES and S in
14· Dallas, not Dominion.
15· · · · · · MIKE LINDELL:· So they are similar machines?
16· · · · · · RUSS RAMSLAND:· Yes, very similar stuff.· Most
17· of these voting companies all have similar DNA in their
18· softwares.
19· · · · · · MIKE LINDELL:· But what you seen, it horrified
20· you?
21· · · · · · RUSS RAMSLAND:· Yeah, it did because literally
22· somebody was playing with the election.
23· · · · · · MIKE LINDELL:· Wow.
24· · · · · · RUSS RAMSLAND:· So we tried to get the
25· authorities alerted.· We brought in a DOJ prosecutor


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·1· that ran the cyber group in Moore, Texas, and she was
·2· horrified at what we showed her, and she asked us to put
·3· it together and eventually submitted it to the FBI.· We
·4· knew that and they did nothing.· So we continued to
·5· investigate, and the more we found the more horrified it
·6· got.· Now this all was still coming out of Dallas.
·7· · · · · · We tried to get senators to look at this
·8· and tried to get state officials to look at this, but
·9· we continued to work on it on our own.· We had no
10· client at all, and eventually we did get seven
11· members of the Freedom Caucus last July to take a
12· two-hour briefing without staff, and what they saw
13· was absolute proof that this electronic voting system
14· that we have is completely comprised.· It can be
15· manipulated and they were horrified.
16· · · · · · MIKE LINDELL:· We've all heard that Texas
17· denied these machines.
18· · · · · · RUSS RAMSLAND:· Well, Texas denied Dominion,
19· but Texas used these other voting machines.· We use Hart
20· and we use ES and S in Texas.
21· · · · · · MIKE LINDELL:· Right.· So why would Texas,
22· they denied these Dominion ones in your opinion, so they
23· must have looked at them and said there's something
24· there they don't like.· But then they -- over here with
25· Smartmatic and these other ones, they were okay with


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·1· that?· Why in your opinion they would deny one machine,
·2· because they're afraid of election fraud and over here
·3· they accepted that one?
·4· · · · · · RUSS RAMSLAND:· I think that it sometimes has
·5· more to do with politics and influence who gets through
·6· and who doesn't that wants to set up the machines.
·7· · · · · · MIKE LINDELL:· Okay.
·8· · · · · · RUSS RAMSLAND:· So we finally ended up with
·9· some investigators, with Ryan Johnson's Department of
10· Homeland Security oversight group, and they were
11· horrified at what we showed them, and they tried to get
12· CISA, which is the Cyber Intelligence Security
13· Administration inside the DHS.· They tried to get CISA
14· to take a look.· CISA would not take the briefing.· They
15· couldn't be less interested.· So we didn't quite know
16· what to do.
17· · · · · · We were beginning to find some media people
18· who wanted to start talking about this and they
19· became appalled.· But the break really came in early
20· August when we got some DHS people in Austin with the
21· INA Division, the Intelligence and Analysis Division
22· down there to take a look at what we had, and that's
23· the division that used to have voter integrity before
24· it was handed to CISA.
25· · · · · · So they looked at it, and they were who


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·1· were horrified, and they sent a whole team to our
·2· shop.· We spent 11 hours with them.· They asked us if
·3· we would give them our data.· We said of course, and
·4· so he gave him them all our data.· They took it back
·5· to Austin, and unknown to us they gave it to three
·6· private cyber groups that they use and said hey, are
·7· these guys crazy.· I mean, is this nuts or is there
·8· something here.· Well all three groups looked at it
·9· and all three groups came back, not only is it right,
10· it's horrifying.
11· · · · · · MIKE LINDELL:· Okay.· I want to ask you that.
12· When you say horrifying, can you explain to everybody
13· watching this right now, what horrified you?· Was it the
14· fact they can go online?
15· · · · · · RUSS RAMSLAND:· Well, there's no effective
16· security at all here votes.· Their votes are stored
17· overseas where they can be easily --
18· · · · · · MIKE LINDELL:· Wait a minute.· They're stored
19· overseas?
20· · · · · · RUSS RAMSLAND:· Yes.
21· · · · · · MIKE LINDELL:· Wow.
22· · · · · · RUSS RAMSLAND:· Twenty-seven states use what's
23· called Clarity Sight on election night reporting and
24· those servers are overseas.· They have what are called
25· S3 bucket vulnerabilities and people with get in and


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·1· change the votes there, and then they can load them all
·2· the way back down to the county level here in this
·3· country because Sidel gets all the credentials from
·4· every single county server here, and so they can get
·5· into every single county server and change this votes
·6· here from overseas.· It's crazy.
·7· · · · · · MIKE LINDELL:· Wow.· So everything that
·8· everybody's been talking about out there that they've
·9· tried to suppress saying -- we heard the machines
10· weren't even online.· And you're saying that 27 states
11· use this, and the servers are overseas, so these can go
12· over there and they can change the vote to anything they
13· want and send it by cyberly, by cyber?
14· · · · · · RUSS RAMSLAND:· Correct.
15· · · · · · MIKE LINDELL:· Wow.
16· · · · · · RUSS RAMSLAND:· So they became the -- DHS
17· people in Austin realized what we were telling them was
18· correct.· They became horrified, and they began to have
19· a series of classified briefings within their own group
20· in order to push this up the chain, and they got about
21· one or two levels up and then they met a solid wall of
22· resistance that basically said leave it alone, don't
23· pursue it.
24· · · · · · MIKE LINDELL:· Wow.· What do you think --
25· telling the facts on the show here, but in your mind why


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·1· would they do that?· Subjectively why would they do that
·2· in your mind?
·3· · · · · · RUSS RAMSLAND:· I don't know, Mike.
·4· · · · · · MIKE LINDELL:· You can't explain it.· I mean,
·5· this is -- okay.· So take us from there.· So this is
·6· like -- approximately when was that when it got stopped?
·7· · · · · · RUSS RAMSLAND:· That was September.
·8· · · · · · MIKE LINDELL:· Wow.· Close to the election.
·9· Okay.
10· · · · · · RUSS RAMSLAND:· Close to the election.· Well,
11· what actually happened in this election, this stolen
12· election, we already knew it was going to happen.· We
13· already had seen it, we knew it was all possible, we
14· knew it was all out there.
15· · · · · · Now, we didn't know how many foreign
16· servers.· Before we weren't seeing very many foreign
17· servers jump in and change votes.· But in this
18· election, of course, we saw thousands from all over
19· the world.
20· · · · · · MIKE LINDELL:· You're seeing thousands.
21· You've seen all these hacks.· Have you actually seen
22· that with your own eyes?
23· · · · · · RUSS RAMSLAND:· We have seen the data that is
24· representative of that.
25· · · · · · MIKE LINDELL:· So the election goes down.· You


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·1· knew it was going to happen.· Is it exactly what you
·2· thought was going to happen?
·3· · · · · · RUSS RAMSLAND:· Yeah.· We thought it was going
·4· to happen on three levels.· We thought there maybe
·5· massive local cheating, we thought there would be
·6· cheating through the actual voting companies themselves,
·7· whether it's them or someone else manipulating them, and
·8· we thought that there would be cheating from votes being
·9· injected from overseas, and that's exactly what we saw
10· happen.
11· · · · · · MIKE LINDELL:· Wow.
12· · · · · · RUSS RAMSLAND:· And we brought up huge tons of
13· absolute proof on this, but no court case was ever
14· allowed, ever allowed it to be presented.· So that sort
15· of gave fodder to this media myth that it didn't exist,
16· but it does exist.· It's out there.· It's unbelievable.
17· It's massive.
18· · · · · · MIKE LINDELL:· Wow.· Did everybody hear that,
19· what Russell is saying here.· This is what everyone
20· says, there was no evidence.· So you're saying no judges
21· would look at the evidence; is that correct?
22· · · · · · RUSS RAMSLAND:· That's correct.
23· · · · · · MIKE LINDELL:· Okay.· And now we don't know
24· why.· We don't know why.· It wasn't because there wasn't
25· evidence.· They didn't even want to look at it; is that


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·1· correct?
·2· · · · · · RUSS RAMSLAND:· That is correct.
·3· · · · · · MIKE LINDELL:· Okay.· Now, we've heard
·4· about -- we'll all heard in this show Antrim County in
·5· Michigan.· Were you guys -- weren't you guys contacted
·6· to look into that?
·7· · · · · · RUSS RAMSLAND:· That was our work.
·8· · · · · · MIKE LINDELL:· Okay.
·9· · · · · · RUSS RAMSLAND:· I actually signed the forensic
10· audit report because our guys did all that, part of our
11· team.· And that came about because there was a down
12· ballot race, and the judge allowed some limited
13· discovery.· What came out of that was appalling enough
14· that he allowed further discovery, and then of course
15· that report went national because what we found was so
16· horrifying.
17· · · · · · MIKE LINDELL:· Right.· For everybody out
18· there, what we've all heard in Antrim County in Michigan
19· and in this show here you've seen it.· This is the
20· reason it was talked about so much because this is a
21· small county, and there's like 15,000 some people voted,
22· and it was 7,000 some votes flipped.· I mean, so it was
23· so obvious.· You know, we had 65 percent Republican and
24· 35 percent Democrat normally, and it was completely
25· flipped, so everybody in the town knew it was a


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·1· deviation that didn't make sense.· So Russell, this case
·2· is still open, that's correct, right?
·3· · · · · · RUSS RAMSLAND:· That is correct.
·4· · · · · · MIKE LINDELL:· Can I ask you this?· So when
·5· you seen there is exactly what you knew was going to
·6· happen, and now were you able to look at other places?
·7· What was different about Antrim County?· What we all
·8· heard was you were able to get into the forensics of it
·9· and see all this.· Have you been able to do that in any
10· other places in the United States since then, you know,
11· since this election ended in November?
12· · · · · · RUSS RAMSLAND:· Actually, on a limited basis
13· we have been able to go in two other counties.· We have
14· not published that information yet, and there are
15· reasons why we aren't publishing that information right
16· now.· But both of them have not -- they have confirmed
17· that it's even worse than in Antrim.
18· · · · · · MIKE LINDELL:· Did everybody hear that?· What
19· we have hear, and Russell can't disclose this because
20· every time something pops up it gets buried out there.
21· Things happen.· You know, this is the most attack on our
22· country, and I'm telling you ever.· I mean this is --
23· and if that's -- you know, it's getting suppressed
24· everywhere.· So what he's saying.
25· · · · · · Two other places.· Now is this breaking


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·1· news right now?· You're saying right now you have two
·2· other places, and what you're seeing is even worse
·3· than you could ever imagine?
·4· · · · · · RUSS RAMSLAND:· Well, no.· It's just like
·5· Antrim, only it's worse in many ways.· You know, in
·6· Antrim, what people need to understand, real simple,
·7· Mike.· When people vote and they scan their ballot in,
·8· it either goes into the regular sort of bucket and gets
·9· voted, or else it goes into what's called an
10· adjudication bucket.· If it goes into the adjudication
11· bucket, then whoever's running the voting system gets to
12· vote that vote however they want.· Well, in Antrim we
13· found ballot rejection rights of 82 percent, 82 percent.
14· 82 percent of the ballots were going to adjudication.
15· · · · · · MIKE LINDELL:· What's the normal number?                 I
16· mean, is there a normal number for an election that
17· would be what percentage, and what would be on the high
18· end?
19· · · · · · RUSS RAMSLAND:· Well, certainly less than one
20· percent should ever go to adjudication.
21· · · · · · MIKE LINDELL:· Wow.· Less than one percent,
22· everybody, and this was 85 percent.
23· · · · · · RUSS RAMSLAND:· In Fulton County, the Fulton
24· County people themselves admitted to a 93.6 percent
25· adjudication rate in some cases.· That means the entire


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·1· election was decided by the people that ran the system,
·2· not by the voters.
·3· · · · · · MIKE LINDELL:· And then what you're talking
·4· about there, this is the way these machines, you can
·5· cheat there.· But this does not count what you're
·6· talking about earlier, the cyber forensics where it goes
·7· overseas to these servers that are all based over there,
·8· correct?
·9· · · · · · RUSS RAMSLAND:· That does not.· That's a
10· different issue altogether.
11· · · · · · MIKE LINDELL:· Right.· So both of them involve
12· the machines, everybody.· One we've talked about on the
13· show is here, but cyber one, you just heard from
14· Russell, which he said earlier this is all the attack by
15· the other countries that hacked in, which we're going to
16· show you that proof now that Russell doesn't even know
17· that we have that's going to show who did it, the time
18· they did it, the computer they did it off, everything.
19· · · · · · · · · · · · · · · *
20· · · · · · STEVEN K. BANNON:· Okay, Mike.· Here's that I
21· don't understand.· The state of Texas prides itself
22· right now in running the best election overall I guess
23· with Florida, okay.· They had the report that we've
24· referred today, you have, that says they didn't pick
25· Dominion systems, they go through all the problems with


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·1· Dominion.· I think they picked ESS.· And I don't know,
·2· and I've talked to a lot of officials down there how
·3· proud they are how they ran the elections.· This is the
·4· first time I'm hearing that there's some big voter fraud
·5· problem in Dallas as Ramsland's saying.· So how do you
·6· scare that, or what other information can Russell
·7· Ramsland put forward to show that these ESS machines are
·8· bad and you've got a problem in Dallas and maybe some
·9· other places, too?
10· · · · · · MIKE LINDELL:· Well, you'll see that later in
11· the show.· But the point of that, bringing up the Texas
12· thing is ESS, Smartmatic and Dominion, you can
13· interchange the names.· They all are the same.· The
14· cyber frenetics we showed goes through all these
15· machines.· They're all the same.· This is my whole
16· point.· You can never use any machine for any election
17· ever, and that's -- and I'm not stopping until that
18· happens.· We lose everything.· And so you're going to
19· find out, and it will come out.· I'll show you.
20· · · · · · The stuff I'm putting up on the Web site
21· will show you how it did.· It didn't just happen in
22· these swing states you've got to realize.· It was
23· every state.
24· · · · · · STEVEN K. BANNON:· Fine.· I want to continue,
25· but I just want to reemphasize.· You're saying you're


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·1· not picking on anyone company.· You're picking on the
·2· whole industry.· You want all the machines to go and go
·3· back to a system that somehow would --
·4· · · · · · (At this point the video continues, but
·5· with no audio.)
·6· · · · · · STEVEN K. BANNON:· -- do this manually.              I
·7· just want to make sure that you're saying I don't care
·8· if it's ESS or even other companies you haven't heard
·9· of.· My focus is to get rid of these machines and to get
10· back to some sense of where you get human involvement in
11· here and human involvement in counting these, and that
12· will take any questions away about whether there are
13· cyber attacks or changing votes by cyber.
14· · · · · · Let's go to the second part of Russ
15· Ramsland interview with Mike Lindell in Absolute
16· Proof.
17· · · · · · · · · · · · · · · *
18· · · · · · MIKE LINDELL:· If we would have never found
19· out, or this would have never gotten to what we're going
20· to get to now, what would the future have looked like in
21· elections?
22· · · · · · RUSS RAMSLAND:· Well, I mean, we're basically
23· approaching Venezuela where it doesn't matter.
24· · · · · · MIKE LINDELL:· Somebody else picks our people
25· for them so why vote, right.· That's the way it would


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·1· have been.· Machines that go online like -- now, you
·2· said earlier it's not just Dominion.· It's all the
·3· machines that were used in this election.· Is that what
·4· you would say?
·5· · · · · · RUSS RAMSLAND:· Yes.· That's absolutely a fair
·6· statement, and let me tell you a little bit about that.
·7· For these people that say it's not online, we have
·8· videos of workers with poll books who are swiping left
·9· on their poll books and bringing up Netflix and getting
10· a movie and watching it on their poll book.· How does
11· that happen if it's not connected to the internet?
12· · · · · · MIKE LINDELL:· Right, right.
13· · · · · · RUSS RAMSLAND:· We have affidavits of an
14· election judge who showed up at her precinct and found
15· to her horror they had loaded the wrong precinct in her
16· equipment, called her voting company, and her voting
17· company put her on hold, and the help desk from another
18· state called in, and in ten minutes somehow reloaded her
19· poll books from another state with the correct precinct.
20· How does that happen if it's not connected to the
21· internet?
22· · · · · · MIKE LINDELL:· I know they were all online,
23· but is it illegal for them to be online?
24· · · · · · RUSS RAMSLAND:· Well, it depends some places
25· yes, some places no.· I mean, the assurance is that you


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·1· can trust the voting system because they're not online,
·2· but they are most clearly online.
·3· · · · · · MIKE LINDELL:· I got you.· I got you.
·4· · · · · · RUSS RAMSLAND:· Now, here's one you don't
·5· know.· We ran a different group here, a little operation
·6· in Dallas during this last election, and let me describe
·7· the operation so you'll understand the magnitude of what
·8· I'm telling you.· What we did is every day we just took
·9· the information on the voter records of the people who
10· voted that day in Dallas.· Dallas posts them online so
11· you get a big, big long record of this voter.· You don't
12· see how he voted, but you see everything else, name,
13· where he lives, when he asked for a ballot, where he
14· voted, his residence address, on and on and on.· And all
15· of those as you know are comprised of zeros and ones.
16· That's how computers work.· So what we did is we would
17· add up all the zeros and ones in that voter record and
18· store it, and then we would watch what would happen to
19· that voter record as we worked our way through early
20· voting.· Mike, we saw 57,000 votes get their voter
21· records changed during early election alone in Dallas,
22· Texas.
23· · · · · · MIKE LINDELL:· Wow.
24· · · · · · RUSS RAMSLAND:· We saw a ten-block long street
25· in Dallas, Texas get every single vote wiped out and


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·1· then subsequently replaced one at a time with clearly
·2· something changed because the hash, in other words its
·3· record of the zeros and ones had been changed, and so we
·4· know it was tampered with.· It's unbelievable.
·5· · · · · · MIKE LINDELL:· Wow.· Was it nationwide that
·6· this happened?
·7· · · · · · RUSS RAMSLAND:· Yes.
·8· · · · · · MIKE LINDELL:· And you've seen the cyber
·9· forensics that show that.· We will show that too.· But I
10· just want to ask you why did they shut these machines,
11· then, to win Texas too?· I mean, what would be your
12· opinion on that of why they didn't set them high enough
13· to win Texas too?
14· · · · · · RUSS RAMSLAND:· Well, there had been a certain
15· amount of concern raised in Texas as a result of our
16· 2018 work.· You know, Pete Sessions actually filed a
17· complaint in Texas and published a paper on it because
18· his race got stolen, and so they were very well aware
19· that Texas was going to come under some scrutiny that
20· other places probably were not.
21· · · · · · MIKE LINDELL:· Right.
22· · · · · · RUSS RAMSLAND:· And there was also a huge
23· operation down in Houston where a vote scamming scheme
24· for over 700,000 votes was exposed, so there was a lot
25· going on in Texas, and I think it made them a little


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·1· skittish to operate as brazenly here as --
·2· · · · · · MIKE LINDELL:· They might have backed off a
·3· little, but you just said something here.· So you're
·4· telling me that they controlled all the down tickets too
·5· if they decided they wanted to flip a senator or a
·6· congressman or whatever; is that correct?
·7· · · · · · RUSS RAMSLAND:· No doubt.· Absolutely.
·8· · · · · · MIKE LINDELL:· So Russell, could you speak
·9· specifically to the malware?
10· · · · · · RUSS RAMSLAND:· Sure.· There is a company out
11· of Barcelona, Spain called Sidel (phonetic) and it owns
12· a company called Clarity Election Night Reporting, and
13· Hart reports to them and Dominion reports to them and ES
14· and S reports to them.· All these companies report the
15· votes to them and then election night reporting
16· supposedly just passes the votes along to the media.
17· But using standard white hat tools, we can look and see
18· what is on their server over in Frankfurt, Germany.· And
19· there is an area on their server on a particular kind of
20· equipment.· There is a piece of malware called Qsnatch.
21· Qsnatch actually watches all the information that comes
22· in, and it grabs the login credentials of every single
23· county in the country that reports to it so that once it
24· has all those credentials, it can then look back into
25· that county and it can access the county database from


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·1· overseas or wherever else it wants to if you want to
·2· inject changed votes either through the adjudication
·3· system or just plain flat replace the database.· So it's
·4· a massive, massive, massive security vulnerability, and
·5· it is there, it is working and they have all the login
·6· ability they need to get into any county that reports to
·7· them.
·8· · · · · · MIKE LINDELL:· Wow.· So basically what you
·9· said earlier, all the servers are over there.· They can
10· take all of our counties in our country, look at them
11· and then decide what they want to do with that
12· information and what they can do in the county, what
13· they need to flip.
14· · · · · · You know, we all heard about this Italy
15· thing, that it went to Italy and Germany when they
16· had to -- I guess this would be the middle of the
17· night on November 4th.· Is this something -- would
18· you know anything about that?· I mean, so what we've
19· all heard out there is it went out there.· Some guy
20· even admitted he did it, which we're going to have
21· his affidavits up here.· What's your opinion on that?
22· · · · · · RUSS RAMSLAND:· Well, our opinion on that was
23· that it should have been investigated because it is very
24· consistent with what we do see happening, but it was not
25· investigated.· Apparently the Department of Justice did


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·1· not investigate.
·2· · · · · · You know, you've got the usual oh, it's
·3· been debunked.· Well, who debunked it?· Ahh.· When
·4· did they debunk it, how did they debunk it?· Ahh.· No
·5· investigation by anyone of that information and there
·6· should have been because it is entirely consistent.
·7· I don't know if it's true, but it's entirely
·8· consistent with everything we have seen in terms of
·9· capabilities.
10· · · · · · MIKE LINDELL:· Bill Barr comes out and says
11· there's no evidence.· What would be your opinion?· Why
12· would people keep pushing this down and not want to
13· know?· I don't care what side of political lines you're
14· on.· Why would you not want to know the truth?
15· · · · · · RUSS RAMSLAND:· That has been a constant
16· haunting question to everyone on our team.· I think it's
17· a combination of things.· I think some people are truly
18· completely totally corrupt.· I suspect that at the
19· bottom of this you might find that our government has
20· been changing votes in other countries for years and
21· they don't really want it revealed, certain parts of our
22· government.· I think that there are people that don't
23· want to look, they're afraid to look.· I think there are
24· probably people who are compromised.· They've been told
25· to stay out of it.· I think it's a variety.· It's not


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·1· one simple little --
·2· · · · · · MIKE LINDELL:· Right.· And that's what I
·3· wanted people to hear because I hear it all the time.
·4· People are going you know what, Bill Barr said this,
·5· none of the judges accepted it and you hear all this.
·6· We can't explain all that because it's probably multiple
·7· things like Russell says, and that's my opinion too.· It
·8· could be up to a dozen things, who knows.· But it
·9· doesn't matter.· All that doesn't matter because now the
10· truth is told today, and it's all coming out, and
11· everybody -- you know, I really believe what's going to
12· happen once everybody sees this is finally you're going
13· to have people that aren't afraid to speak out because
14· it's too late to close the gate.· The cows are out of
15· the barn.· Everybody's going to know about it and
16· they're going to want to know more and more.
17· · · · · · RUSS RAMSLAND:· You know, Mike, the real thing
18· is I think pretty soon the question is going to start to
19· turn around and people are going to go wait a minute.
20· What is everyone so afraid of?· Why are they going to
21· such incredible lengths to say there's nothing here when
22· there clearly is something here.· You know, this is
23· almost like you and I remember Enron.· This is almost
24· like Enron.· Would we all be saying oh, no, we don't
25· want to investigate Enron.· No one should look into


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·1· Enron.· No, no.· Enron shouldn't have to tell you how
·2· they spend your money.· You just keep giving them your
·3· 401K money.
·4· · · · · · MIKE LINDELL:· Right.
·5· · · · · · RUSS RAMSLAND:· No.· That's not how it works
·6· and that's not how our voting system should work either.
·7· · · · · · · · · · · · · · · *
·8· · · · · · STEVEN K. BANNON:· Now look, Mike, I don't
·9· know what Venezuela or what Venezuela has to do with the
10· United States in the 2020 presidential election, but I
11· think for the audience and for people that just want to
12· get to the facts, are you prepared -- Russ put some
13· statements out there, made some assertions.· Are you
14· prepared to bring eyewitnesses from Venezuela or people
15· that can actually talk specifics about this and somehow
16· you put it up online or augment this film somehow so
17· people can actually hear eyewitness testimony?· Are you
18· prepared to do that?
19· · · · · · MIKE LINDELL:· Absolutely.· And as part of my
20· due diligence that's been all this week.· I wanted to go
21· back to where this all started, and Venezuela -- see, it
22· all started in Venezuela with Smartmatic, not Dominion
23· or the other one.· It was with Smartmatic, and we're
24· going to have the gal -- all through -- that evidence I
25· will put up on MichaelJLindell.com Web site.· You're


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·1· going to see all that stuff we're adding.· But it was
·2· very interesting her story.· She got attacked and put
·3· down, just like what's happening to me here because she
·4· knew, she knew.· She had the evidence.· She had the
·5· evidence you're going to see tonight.· She had it, and
·6· they just (sound), but she didn't have this big
·7· platform, but you're going to see that, and you'll see
·8· all that.· Anything you -- you know, to back up, when
·9· you talk about us Russ Ramsland and his company, they
10· are the best in the world at these machines, getting
11· inside them and, you know, getting the footprints and
12· doing that.· These guys are amazing.
13· · · · · · STEVEN K. BANNON:· Fine.· But I want to make
14· sure we're clear particularly to everyone on the left
15· and all the media that's attacking you.· You're prepared
16· to have her on tape, you're prepared to put all this
17· stuff about this whole situation in Venezuela and with
18· us Russ Ramsen's company, Colonel Waldron.· You're
19· prepared to put up additional information online so
20· people can check more of the hard evidence on this.
21· This is a commitment you're making?
22· · · · · · MIKE LINDELL:· Right.· Yes, absolutely.· And I
23· want to say this, though.· What Russ is saying is what
24· I'm telling you all.· Look, in Venezuela it happened in
25· a very short period of time where the socialists, they


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·1· got in there and their country was gone.· And how did
·2· they do it, they did it through the use of these
·3· machines.· When you can pick who you vote for, you know,
·4· this is what we're all talking about tonight.· It's very
·5· important what Russ is saying there.
·6· · · · · · If we don't get rid of the machines we
·7· will -- they're coming in now, this election.· This
·8· is what happened, this election, so it's very serious
·9· stuff, and yes.
10· · · · · · STEVEN K. BANNON:· You're going to next meet
11· one of to smartest guys in the country, Dr. Shiva from
12· MIT, just an extraordinary individual.· His interview
13· with Mike Lindell and Absolute Proof is next.
14· · · · · · · · · · · · · · · *
15· · · · · · MIKE LINDELL:· So now we have with us
16· Dr. Shiva.· He has four MIT degrees.· He's an expert
17· system science and pattern analysis, and I met him four
18· weeks ago.· Well, Mike why didn't you bring this to us
19· before?· Well, I just met Dr. Shiva four weeks ago, and
20· he's going to tell you he actually ran for senate, and
21· he knows all about these machines now, and we're going
22· to hear some of this stuff that I found out and went
23· wow, this absolutely validates this election fraud with
24· these machines.
25· · · · · · DR. SHIVA:· Well, thanks, Mike.· I'm glad we


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·1· connected.· You know, it's an interesting opportunity
·2· for me, Mike, because it's rare that a guy who's a
·3· scientist, an engineer, an MIT guy even runs for office.
·4· · · · · · MIKE LINDELL:· Right.
·5· · · · · · DR. SHIVA:· And then it's even more rare that
·6· you come across something that you never think occurs in
·7· the United States.· I grew up in India and third world
·8· countries.
·9· · · · · · We talk about election fraud.· When I was
10· running in Massachusetts in 2020 we had 3,000
11· volunteers on the ground, you know, 20,000 bumper
12· stickers, 10,000 lawn signs, billboard ads, radio, TV
13· network, we were everywhere.
14· · · · · · The GOP establishment who doesn't want a
15· bottoms up guy like me who hated Trump ran a no name
16· out there who no real lawn signs, no bumper stickers,
17· no organization, nothing.· And we knew on election
18· night, which was a Republican primary, September 1,
19· 2020, the word landslide is what we heard everywhere.
20· · · · · · MIKE LINDELL:· That you were going to win by a
21· landslide?
22· · · · · · DR. SHIVA:· Oh, yeah.· It was obvious.              I
23· mean, we worked --
24· · · · · · MIKE LINDELL:· I think you said unless there
25· was election fraud.· But you probably thought --


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·1· · · · · · DR. SHIVA:· Yeah.· One of my close friends
·2· said we're going to win this unless there's election
·3· fraud, and I just thought this was just some fringe
·4· stuff, right.
·5· · · · · · MIKE LINDELL:· You weren't thinking about
·6· machines?
·7· · · · · · DR. SHIVA:· I wasn't thinking about machines
·8· because I didn't know that.· You know, from creating
·9· email and all these systems I know the power of
10· machines.
11· · · · · · MIKE LINDELL:· Oh, by the way, he created
12· emails, right?· The creator of email.· I just want to
13· tell you, the guy's a genius.· So what you're going to
14· hear here.· This is what I did my due diligence on.
15· This is just one guy going okay, you know, is this real
16· or is this not.· Believe me, it's real.
17· · · · · · DR. SHIVA:· Yeah.· So I have a lot out history
18· not only in pattern analysis and system science, but I
19· build large scale computer systems.· The stuff that I've
20· used has been used by the Senate, has been used by the
21· largest fortune 1,000 companies in the world, so I know
22· how you move from paper-based systems and electric
23· systems and I know the power of electronic systems.
24· · · · · · When you put some process that's in
25· electronic performed, a single individual has immense


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·1· amounts of powers, so that's a background.· But on
·2· September 1, 2020 what we saw was we knew we'd won on
·3· a landslide and there we are with our big party and
·4· we see the results coming in.
·5· · · · · · Now Massachusetts we saw in Franklin County
·6· was to 80 to 90 percent hand counted paper ballots,
·7· no machines, I win by ten percent, and in every other
·8· county, Mike 60/40, 60/40, 60/40.
·9· · · · · · MIKE LINDELL:· That you lost by two percentage
10· in --
11· · · · · · DR. SHIVA:· I lost by.
12· · · · · · MIKE LINDELL:· Exact percentage?
13· · · · · · DR. SHIVA:· Exact percentage, by a guy -- a
14· black county this guy wins, in a white county this guy
15· wins, an Hispanic county.· The guy was nowhere.
16· · · · · · MIKE LINDELL:· By the same percentage.
17· · · · · · DR. SHIVA:· By the same percentage.
18· · · · · · MIKE LINDELL:· That's not only a deviation but
19· it's an anomaly.· Don't you think that's impossible?
20· You're like me.
21· · · · · · DR. SHIVA:· From a scientific standpoint you
22· would say it's highly unlikely.· And that began my
23· journey to start with saying wow, election fraud could
24· take place in America.· So I started reading up
25· everything I could.· By September 9, eight days later I


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·1· found out something interesting.· I found out these
·2· electronic voting machines -- remember, there's two ways
·3· you can vote.· One is you give a paper ballot, and the
·4· paper ballot is counted by human being, two people, and
·5· that's what occurred in Franklin County.· But in those
·6· other counties they take that paper ballot when you vote
·7· electronically --
·8· · · · · · MIKE LINDELL:· Into a machine.
·9· · · · · · DR. SHIVA:· -- it goes into a machine.· And
10· what happens in that machine?· The paper ballot is
11· converted to an image called a ballot image, no
12· different than you taking a picture with your iPhone.
13· So what is actually counted?· The paper ballot gets put
14· aside.· The machine, the electronic, quote/unquote, AI
15· on the machine actually tries to figure out where the
16· circles are, and the machine is counting the ballot
17· image.· So at that point I realize oh, my God, the
18· ballot image is the ballot.· The images are the ballot.
19· · · · · · MIKE LINDELL:· So you were going to get to the
20· bottom of this no matter what.· You're like me.· I want
21· to tell you something.· One thing about Dr. Shiva, when
22· I met him I'm going wow, he's just like me.· I look at
23· deviations every day.· If I see a TV station that
24· normally does ten thousand, because I track them all
25· individually, that does ten thousand, and all of a


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·1· sudden one day it did only two thousand, I'll tell you
·2· what.· What I do is spend the rest of the day or a week
·3· or a month, I'm going to find out how that happened
·4· because the only way things change is what, a different
·5· input.
·6· · · · · · DR. SHIVA:· Exactly.
·7· · · · · · MIKE LINDELL:· A different input.· So you've
·8· got this anomaly, a deviation, and not just because you
·9· were running.· It's not like you were just biased going
10· I won, I know I won.· Now you're digging in to find out
11· how this weird mathematical --
12· · · · · · DR. SHIVA:· Exactly.· The scientist/engineer
13· kicked in.· You're a scientist and engineer from a
14· marketing standpoint and I think we both sort of pursue
15· the same aims.
16· · · · · · MIKE LINDELL:· Right.
17· · · · · · DR. SHIVA:· But here what we found out was the
18· first thing that gave me a big insight is that A, ballot
19· images are being created.
20· · · · · · MIKE LINDELL:· Right.
21· · · · · · DR. SHIVA:· And I also found out by federal
22· law in 1974 they passed a law for federal selections
23· those ballot images must be saved, so that was one piece
24· of the puzzle, okay.· The other piece of the puzzle was
25· I found out that the voting machines as early as 2002


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·1· have a feature in there called a weighted race feature
·2· where it's embedded into the system where you can
·3· multiply candidates' votes by a percentage.· So what
·4· that means is you get a thousand votes, I get a thousand
·5· votes.· I can multiply your votes by two, my votes by
·6· .5.· If anyone doesn't believe this, go look up the
·7· Diebold voting manual, go to page 2-126 in the manual in
·8· the 2002 version and you'll see it in there.
·9· · · · · · MIKE LINDELL:· So were you able to prove that
10· your election was stolen by the machines?
11· Mathematically did you prove a hundred percent that this
12· could only be recreated by a machine to do that 60/40?
13· · · · · · DR. SHIVA:· Yeah.· So what we proved, Mike,
14· first of all we showed that the state had deleted the
15· ballot images.
16· · · · · · MIKE LINDELL:· Right.
17· · · · · · DR. SHIVA:· Which means if they had the ballot
18· images I could find the algorithms.· So it came upon me
19· to all use that 40 years of experience that I'd learned
20· from 14 all the way to MIT, I could bring all that
21· rocket science to look at the data.· And what I found
22· out in the data was a very interesting anomaly which, as
23· you said, a deviation in one of the counties called
24· Suffolk County which is typically highly Democrat.· So
25· we were able to see these interesting numbers, up, down,


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·1· up, down, up, down, essentially going to a casino
·2· imagine every time you roll twice the number of odd as
·3· you can get even, right.· It's unlikely.· It should be
·4· 50/50.· And in fact, when we did the numbers that
·5· pattern could only occur one in a hundred thousand.
·6· · · · · · ·We sued the state on this, and the judge
·7· did not dismiss our case.· It's still open.· Not only
·8· it's open, but we survived dismissal, and the other
·9· thing was we also showed that when I put this out on
10· Twitter and said look, the secretary of state deleted
11· ballot images, Twitter didn't do anything to me, but
12· the secretary of state contacted Twitter to shut me
13· down along with the National Association of State
14· Election Directors that came out.
15· · · · · · MIKE LINDELL:· Wow.· Well, let me stop you
16· right there because I want to say something.· Did you
17· hear the Twitter thing?· All of you in this country and
18· the world know my Twitter was taken down.· Do you know
19· why it was taken down the first time 20 some days ago is
20· because I put up of the new evidence, which Dr. Shiva
21· I'm going to tell him in a second, this new evidence
22· that came out shows the time stamp in space who did it,
23· what country did it like China.
24· · · · · · DR. SHIVA:· Remember, we have two cases.
25· First we basically went into court saying the secretary


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·1· of state contacted Twitter.· That means Twitter takes
·2· orders from the government.· This is what we showed.
·3· Twitter takes order from the government.
·4· · · · · · MIKE LINDELL:· That's proved.· That's a
·5· hundred percent?
·6· · · · · · DR. SHIVA:· Yes.· It came --
·7· · · · · · MIKE LINDELL:· A hundred percent Jack
·8· Dorsey --
·9· · · · · · DR. SHIVA:· -- took orders from the secretary
10· of state of Massachusetts.· This is what happens in
11· countries like China.· The government tells the
12· corporations what to do.· And in the United States what
13· came out in our three hours of testimony where I
14· represented myself.· No one wanted to take the swamp on
15· in Massachusetts.· So what came out was we have the
16· secretary of state, the election director, and the
17· communications officer saying they contacted Twitter to
18· shut me down.
19· · · · · · MIKE LINDELL:· Is that still open?
20· · · · · · DR. SHIVA:· Not only is it open, the judge
21· gave me the restraining order, and the case is open, and
22· my other case to decertify, they tried to apply a
23· hundred, two hundred page motion to dismiss and the
24· judge denied their motion.
25· · · · · · MIKE LINDELL:· Wow.


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·1· · · · · · DR. SHIVA:· That means like MIT is in
·2· Massachusetts, right?· There's a lot of computer people
·3· there.· No one has rebutted my mathematical explanation
·4· showing that they multiplied my votes by .666.
·5· · · · · · MIKE LINDELL:· .666 they multiplied it?
·6· · · · · · DR. SHIVA:· Exactly.· And the other guy's by
·7· 1.2.
·8· · · · · · MIKE LINDELL:· Everyone hear that?
·9· · · · · · DR. SHIVA:· I think one of the things the
10· public needs to understand is federal laws, the
11· Department of Justice is supposed to enforce them.· You
12· know, when we found out the ballot images were deleted,
13· we informed, what's the name, Barr and the local U.S.
14· attorney and they've done nothing.· So basically this is
15· what happens in third world countries.· They have laws
16· but nothing is followed.· And if that's where we've
17· gotten into it's a serious problem for this county
18· because the laws don't mean anything.
19· · · · · · MIKE LINDELL:· Well, it's a serious problem.
20· You mention Barr.· I mean, he comes out and says there
21· was no election fraud.· Here we have right here, you
22· told him of some, right?
23· · · · · · DR. SHIVA:· I told him of some.
24· · · · · · MIKE LINDELL:· Was this before the election
25· even?


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·1· · · · · · DR. SHIVA:· This is in October.
·2· · · · · · MIKE LINDELL:· October.
·3· · · · · · DR. SHIVA:· So --
·4· · · · · · MIKE LINDELL:· Bill Barr, if you're watching,
·5· I mean, why would you say something like that when yes,
·6· this wasn't just election fraud.· This was a historical
·7· election fraud.· This was coming from a lecture from
·8· machines, from these machines of biblical proportions,
·9· of historical proportions, and now it's all going to get
10· exposed.· I want the senators, the congressmen, the
11· government, the governors, the legislators, everybody
12· needs to watch this show and when you do, you know, a
13· lot of you can go wow, I never knew, I never knew.· And
14· that will be an excuse for a lot of them because of our
15· mainstream media and all the people.
16· · · · · · I can't believe the money spent to suppress
17· this, you know, to suppress it.· Anything that popped
18· up, boy, they were right on.· Let's destroy them.
19· Let's destroy them.· Like who was the last thing to
20· pop up?· Me.· When I seen this, I popped up, and how
21· you destroy my pop up because everybody knows I'm out
22· there.· They've done everything they could from bots
23· and trolls to go after my integrity to Twitter.             I
24· mean, it's just been a massive attack, but then you
25· know you're right over target, right?


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·1· · · · · · DR. SHIVA:· It wasn't Twitter acted alone.· We
·2· found the government contacting Twitter.· Now, this is a
·3· fundamental violation of the First Amendment.· Political
·4· speech -- government speech cannot supersede political
·5· speech.· So I bet you you'll find out that some
·6· government official may have likely been involved in
·7· contacting Twitter.
·8· · · · · · MIKE LINDELL:· Oh, yeah.· I know Jack Dorsey.
·9· Jack, if you're out there, you did this to my movie a
10· couple years ago with Unplanned when Twitter shut that
11· down for two hours when it launched.· I mean, we're
12· getting into a whole segment when you're talking about
13· we all know the social media, what they've done from
14· mark Zuckerberg and Jack Dorsey.· These platforms, the
15· power they have along with the mainstream media.
16· · · · · · You know, what did they do when they took
17· over?· you talk about third world countries?· In Nazi
18· Germany they took over -- any country like that
19· they'll take over your communication, you know.· How
20· are we going to communicate.· You're hearing in one
21· second (sound), you know, and this is where we're at,
22· but we're going to get this out there.· This show,
23· this has been what everybody's been waiting for.
24· · · · · · I encourage a newscast out there, all these
25· journalists and all you guys that have been calling


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·1· me for three weeks now.· You never called me before
·2· from your CNNs to your New York Times, your
·3· Washington Post.· All you guys have been calling me
·4· nonstop every day because you think you've got some
·5· -- making up some dirt or something, and because
·6· Dominion, you're saying things about Dominion.
·7· · · · · · I encourage all of you, why don't you be a
·8· real journalist and take this story and run with it.
·9· Be the first one to go wow, this is real.· Maybe
10· you'll become the biggest outlet in the country by
11· doing that.
12· · · · · · DR. SHIVA:· Because the real crime scene in
13· America is these computer algorithms.
14· · · · · · MIKE LINDELL:· And I'm going to tell you, that
15· is the crime scene.· And I'm going to tell you, this is
16· their game too that these machine guys played like
17· Dominion.· They went out there, and a lot of these
18· places I couldn't even go on the media and talk about
19· these machines because they were threatened.· I go on a
20· news talk show and they go you can't talk about that.              I
21· was just on one last night, you can't talk about that.
22· Why not?
23· · · · · · · · · · · · · · · *
24· · · · · · STEVEN K. BANNON:· Look, Mike, Dr. Shiva, I
25· think he's got, what, four degrees from MIT.· This is


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·1· guy is the proverbial man with two brains.· He came up.
·2· He actually found out about this weighted race part of
·3· it.· But also this whole thing with Twitter and the TRO.
·4· Walk us through exactly what he was talking about.
·5· · · · · · MIKE LINDELL:· Well, it's very interesting
·6· because he's is a guy that went back down.· He knew he
·7· got cheated in his race and he did, he dug into the
·8· machines and he found the weighted race feature on the
·9· machines and he kept digging and he then he took it
10· before a judge.
11· · · · · · Well, then the secretary of state, when he
12· put the evidence up, just like I did, you know, the
13· evidence got taken down, his Twitter got taken down.
14· So then he dug into it, and sure enough the secretary
15· of state did it, so the judge ruled in his favor and
16· gave the secretary of state a restraining order.· And
17· what he's saying there, the government got involved.
18· That's common.· He was ordered a private company or
19· company to do this.
20· · · · · · For all I know, you know, maybe that's what
21· happened when they took mine down.· Maybe somebody
22· ordered Jack Dorsey to do it.· I don't know.· But all
23· I know is if you watch this here, you know, you've
24· got people like Dr. Shiva, a great patriot.· He's not
25· going to give up.· Now he's putting his whole life


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·1· into it.· It's not he lost.· He's got a lot of better
·2· things to do, but he realized the importance of this
·3· country and with this weighted race feature on these
·4· machines, he knows it came through the machines.
·5· · · · · · And look at the suppression.· the
·6· government tried to stop him by going to a social
·7· media platform and telling them to take it down.              I
·8· mean, it can' get any more than that.· and this
·9· didn't get big press.
10· · · · · · That's why when I talked to Dr. Shiva, this
11· didn't make big news.· Not many people know about it.
12· It one of the cases open in the United States and it
13· keeps getting to this next level.· That's pretty
14· amazing.
15· · · · · · STEVEN K. BANNON:· Yeah.· I think the great
16· thing of the film you're bringing that up, and Dr. Shiva
17· is a smart guy.· He's relentless.
18· · · · · · But let's go to where the action is.
19· That's in Michigan.· Michigan is one of the most
20· controversial states in this entire election.· We're
21· now going to go to Patrick Colbeck and Melissa Carone
22· (phonetics).· ·Melissa Carone became a national her
23· at the hearing and also when Saturday Night Live
24· mocked her about the Rudy Giuliani hearings.· So
25· let's go to Michigan and hear these two, and then


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·1· we'll come back after that and have Mike Lindell
·2· comment.
·3· · · · · · · · · · · · · · · *
·4· · · · · · MIKE LINDELL:· Okay.· Now we have Patrick
·5· Colbeck, and he was a former state senator in Michigan.
·6· And Patrick, how are you involved here?· What brought
·7· you here today?
·8· · · · · · PATRICK COLBECK:· Well, I came as a result of
·9· my decision to be is a poll challenger out of the
10· Detroit AB counting board.· I did a marathon 25-hour
11· shift starting on election night around 5:00 all the way
12· through the next day, so we witnessed all the fun.
13· · · · · · MIKE LINDELL:· Wow.· This was in Michigan?
14· · · · · · PATRICK COLBECK:· Yeah.
15· · · · · · MIKE LINDELL:· Where in Michigan, what county?
16· · · · · · PATRICK COLBECK:· At the Detroit AD counting
17· board in Wayne County.
18· · · · · · A little background on me.· When I was a
19· state senator I was actually the vice chair of the
20· elections, election government reform committee in
21· the Michigan state senate.· And in addition to that
22· background, my background is as a Microsoft small
23· business specialist, and I did cabling design on the
24· space station.· So in other words, I'm familiar with
25· election processes, and I'm familiar with network


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·1· configurations.
·2· · · · · · So my focus, when I came into the Detroit
·3· AD counting board is I wanted to understand
·4· specifically the handoff of vote tally information
·5· throughout the system.· We did see evidence that it
·6· was connected to the internet.
·7· · · · · · MIKE LINDELL:· What was that evidence?
·8· · · · · · PATRICK COLBECK:· Well, that control center,
·9· they've already admitted to the fact that that control
10· center had computers that were connected to the
11· internet, and we saw the actual cable routed from the
12· wall of the TTS center to the control center, and we
13· have election officials that admitted there were
14· computers in the control center that were connected to
15· the internet.· Anybody worth their salt in IT land
16· understands that if one computer is connected to the
17· internet, they're all connected to the internet.· You
18· may say that it's air gapped, you may say you have a
19· firewall.· I have people that eat firewalls for
20· breakfast.
21· · · · · · MIKE LINDELL:· So what you're saying, you
22· knowing that, if it's connected to the internet,
23· somebody out there could have hacked in and then did the
24· flipping of the votes?
25· · · · · · PATRICK COLBECK:· Yep.· When you get into a


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·1· case where you've got the same devices that are supposed
·2· to be capturing that vote tally corrected to the
·3· internet, or frankly even connected to a large local
·4· area network and you can't witness that handoff of vote
·5· tallies, you don't have that seal.· So you may be
·6· thinking you're passing that information from point A to
·7· point B, but there's nothing to prevent it from going to
·8· point C in the interim and the man in the middle it's
·9· called.
10· · · · · · MIKE LINDELL:· So if you're online, anybody
11· could do that because they're intercepting that.· It's
12· an interception.
13· · · · · · PATRICK COLBECK:· Right.
14· · · · · · MIKE LINDELL:· Machines aren't supposed to be
15· online in an election, right?
16· · · · · · PATRICK COLBECK:· Yes.· It's called man in the
17· middle, and you wouldn't accept that if it was a
18· traditional precinct and you got that precinct results
19· and it wasn't sealed, you'd be raising your hand saying
20· something's rotten here.
21· · · · · · MIKE LINDELL:· Absolutely.· I want to ask
22· this, though.· If you were there, did it slow down in
23· the middle of the night when you were there?
24· · · · · · PATRICK COLBECK:· Yes, absolutely.
25· · · · · · MIKE LINDELL:· So it slowed down to a trickle?


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·1· · · · · · PATRICK COLBECK:· Yeah. it was dead in the
·2· night, and that's when some ballot came in the back
·3· door.
·4· · · · · · MIKE LINDELL:· Well, now we're here with
·5· Melissa Carone, and you were actually hired by Dominion
·6· for November 3rd and 4th, just for two days, right?
·7· · · · · · MELISSA CARONE:· Yes, yes.
·8· · · · · · MIKE LINDELL:· And they found you online,
·9· right?· You had a resume online.· You have an IT
10· background?
11· · · · · · MELISSA CARONE:· Yeah, yeah.
12· · · · · · MIKE LINDELL:· So tell us what happened.
13· · · · · · MELISSA CARONE:· So I was there to assist with
14· IT work for Dominion.· So what I was doing was just
15· walking up and down the rows of the --
16· · · · · · MIKE LINDELL:· By the machines?
17· · · · · · MELISSA CARONE:· Yeah.
18· · · · · · MIKE LINDELL:· It's a tabulating machine?
19· · · · · · MELISSA CARONE:· Yeah.· So I could get very
20· close to those machines.
21· · · · · · MIKE LINDELL:· Okay.· So was that the only
22· kind of machine?
23· · · · · · MELISSA CARONE:· No.· There was adjudication
24· means in the front and the back, and on the sides there
25· was -- I'm sorry, the tabulating machines.


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·1· · · · · · MIKE LINDELL:· Both Dominion machines,
·2· correct?
·3· · · · · · MELISSA CARONE:· Both Dominion machines.
·4· · · · · · MIKE LINDELL:· So you got to see, what,
·5· thousands of votes?
·6· · · · · · MELISSA CARONE:· Thousands upon thousands of
·7· votes.
·8· · · · · · MIKE LINDELL:· Okay.· What was on every vote?
·9· · · · · · MELISSA CARONE:· Every vote that I saw was for
10· Joe Biden.
11· · · · · · MIKE LINDELL:· For Joe Biden.· When I heard
12· this, and I want to say, you worked how many hours?
13· · · · · · MELISSA CARONE:· 22 straight hours.
14· · · · · · MIKE LINDELL:· And then you came back for four
15· hours?
16· · · · · · MELISSA CARONE:· Correct.
17· · · · · · MIKE LINDELL:· Out of all that time did you
18· ever see one Trump vote?
19· · · · · · MELISSA CARONE:· I never saw a single Trump
20· vote.· So when the ballots got to the tabulating
21· machines they would -- it's kind of like a printer.· You
22· would look at it kind of like a printer where the paper
23· would come out normally.· That's where they would put
24· in, and it would end up as they were tabulated on the
25· top of the machine.· So these would jam constantly,


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·1· constantly jam because these were mail-in ballots.
·2· Creases, anything in them would jam this.
·3· · · · · · MIKE LINDELL:· And when they jammed what
·4· happened?· This is very interesting.
·5· · · · · · MELISSA CARONE:· When they jammed they would
·6· take the ballot.· There was a computer in front of each
·7· person.· It would say ballot number, you know, 20
·8· jammed.
·9· · · · · · MIKE LINDELL:· Out of a group of 50.· So the
10· 20th ballot jammed.
11· · · · · · MELISSA CARONE:· Uh-huh.
12· · · · · · MIKE LINDELL:· Then what?
13· · · · · · MELISSA CARONE:· So it would say discard,
14· rescan.· The way they were supposed to do it is discard
15· them and rescan them, but they were not discarding
16· these.
17· · · · · · MIKE LINDELL:· So they used the same -- let's
18· say 30 went through.· It got stuck on the 30th one.
19· They put that number 30 at the top of the same 50 pack
20· and run them through again?
21· · · · · · MELISSA CARONE:· Yeah.
22· · · · · · MIKE LINDELL:· So you're telling me that
23· tabulator had no way to know.· It's just counting the
24· number like counting a deck of cards?
25· · · · · · MELISSA CARONE:· Exactly.


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·1· · · · · · MIKE LINDELL:· You could sit there and run the
·2· same deck of cards through this tabulator over and over
·3· and over again; is that right?
·4· · · · · · MELISSA CARONE:· Yes.· So one time through
·5· this night I approached my manager and I said this
·6· machine has a count of over 400 on it.· I said what's
·7· going on here.· I said this is not right.· They should
·8· not go above 50 because the batches are only 50.
·9· · · · · · MIKE LINDELL:· Only 50.
10· · · · · · MELISSA CARONE:· I said we have a huge problem
11· here, and he said -- he pulled me aside and he said I
12· don't want to hear that we have a problem.· He said we
13· are here to assist with IT work.
14· · · · · · MIKE LINDELL:· Was this a Dominion guy?
15· · · · · · MELISSA CARONE:· He's actually a part owner of
16· Dominion, yes.
17· · · · · · MIKE LINDELL:· Wow.· Okay.· What?· So 26 hours
18· of watching ballot after ballot, walking up and down
19· these tabulating machines, not one ballot was for Donald
20· Trump.
21· · · · · · · · · · · · · · · *
22· · · · · · STEVEN K. BANNON:· Okay.· Mike, Patrick
23· Colbeck, the former state senator and Melissa Carone,
24· the former employee of these two, they assert -- Colbeck
25· says hey, it was on the internet, plus you've got these


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·1· vans coming in the middle of the night.· I know that
·2· gateway pundit I think put up some additional video the
·3· other day.· But people there are saying that it didn't
·4· happen, okay, and I think Dominion has been adamant
·5· they're not connected to the internet, and Colebeck says
·6· they are.· Also, Melissa Carone, I think she says in 26
·7· hours she didn't see one vote for Trump.· There are
·8· other people that sit there and say she wasn't trained,
·9· she doesn't know what she's talking about and it didn't
10· happen.
11· · · · · · What are you going to do to give additional
12· evidence backed put about what the assertions of
13· these two people are?
14· · · · · · MIKE LINDELL:· Well, I have all kinds of that.
15· I can put it up on the Web site from both of these two.
16· But the reason I wanted to put it in there was a couple
17· reasons.· One is just to show you they were plugged in,
18· and there's all kinds of evidence that he has, the state
19· senator.
20· · · · · · But with Melissa, it was interesting to me
21· because she was hired by Dominion.· So she was hired
22· by Dominion, and she was actually, when Michigan had
23· that huge spike, which I've always wondered about,
24· you know, this huge spike.· One of the big fallacies
25· of this whole election was that the mail-in votes


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·1· were counted last.· No, they were counted first.· In
·2· Michigan they were counted first.
·3· · · · · · So everybody thought oh, the middle of the
·4· night, well, of course all these votes came in.· They
·5· were mail-in votes.· They're for Biden.· No.· Those
·6· votes came.· One of the things Melissa was allowed to
·7· do because she was a Dominion employee, there was
·8· only two of them there that were hired.· They only
·9· gave them an hour training, and all they were
10· supposed to do is walk up and down the machines so
11· they could get close to the machines where poll
12· watchers couldn't.· They had to stay say six feet
13· away.
14· · · · · · So it was interesting to me anyway that she
15· had access to see every single thing, and she never
16· seen one Trump vote because this was where they had
17· to do the big spike you seen.· And you know what, I'm
18· going to put up --
19· · · · · · STEVEN K. BANNON:· You're committed to put up
20· additional information that backs up what Melissa and
21· former State Senator Colbeck are saying, right?· You're
22· committed to do that?
23· · · · · · MIKE LINDELL:· I'm not here to prove all that
24· kind of fraud.· I'm here to show you about machines.
25· This shows just one other thing of what they did with


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·1· the machines.· And yes, I'm going to show all that
·2· evidence.· I'll put it up on the Web site.· But what
·3· they did, they filled up these fobs, and what they did,
·4· they went down and they did a dump.· They did a hundred
·5· and some thousand dump, boom, just put into the
·6· machines.· You do that online, you guys.· Boom.· That
·7· was just another way you can cheat with these machines,
·8· so that's very important.· But I will put all that stuff
·9· up on the Web site because but I want to focus this show
10· on the machine fraud, but I just wanted to put that in
11· there because some of these things that were
12· unexplainable, you're all going to know how they
13· happened.
14· · · · · · STEVEN K. BANNON:· Okay.· I want to get to
15· Matt DePerno.· I think he's the Jimmy Stewart figure in
16· this movie.· Very powerful testimony.· We're going to
17· break into a couple pieces.· Matt DePerno.· We're going
18· to stay in Michigan.· Mike Lindell returns with Matt
19· DePerno in a second.
20· · · · · · · · · · · · · · · *
21· · · · · · THE WITNESS:· Okay.· Now we're here with Matt
22· DePerno (phonetic), and he's the lawyer that we all
23· heard about this Antrim County.· How did you get this
24· county that you hear about and how did you even get
25· involve in this?


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·1· · · · · · MATT DEPERNO:· Sure.· Well, I know some people
·2· who live up in Antrim County, and Antrim County is a
·3· small county up in northern Michigan.· It historically
·4· votes roughly 65 percent Republican, 35 percent
·5· Democrat, and in this case it completely flipped on
·6· election night.· Roughly 65 percent of the vote went to
·7· Joe Biden and 35 percent to Donald Trump.· So people who
·8· lived up there knew that there was a problem.· They knew
·9· the results were not correct.· And on the morning of
10· November 4th they actually contacted the Antrim County
11· CLERK and requested that she look into the results
12· because they knew what had been posted on the Web site
13· could not be true.· And through a series of events,
14· people who I knew up there, and a person named Bill
15· Bailey who's a patriot who lives up in Antrim County and
16· who knew there was a problem and wanted to challenge the
17· results, they ended up connecting him to me and I filed
18· a lawsuit.
19· · · · · · But what's important is in filing this
20· lawsuit· we weren't seeking publicity, we weren't
21· seeking fame.· We just wanted to get results.
22· · · · · · We filed the name in the name of a patriot
23· named Bill Bailey and we changed down ballot school
24· board elections.· That's what he was most interested
25· in learning about school board elections.· Of course


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·1· he was obviously interested in other aspects of the
·2· election, what happened in the presidential election
·3· and how did things flip, but primarily the case
·4· centered on local politics.· And if you look at
·5· certain townships like Chestonia Township, Joe Biden
·6· got 197 votes on November 3rd
·7· · · · · · MIKE LINDELL:· Right, right.
·8· · · · · · MATT DEPERNO:· In reality he only got 93.
·9· · · · · · MIKE LINDELL:· How do you know that he only
10· got 93?
11· · · · · · MATT DEPERNO:· Because there's since been a
12· hand recount.
13· · · · · · MIKE LINDELL:· A hand recount.· So when did
14· they do that?
15· · · · · · MATT DEPERNO:· They did a hand recount on
16· November 21st and then again on December 17th.
17· · · · · · MIKE LINDELL:· Right, right.· Okay.
18· · · · · · MATT DEPERNO:· On December 17th they told us
19· they were going to do a full audit of the county, the
20· secretary of state did, but in reality they only did a
21· hand recount again.
22· · · · · · MIKE LINDELL:· So on the recount you get 197,
23· and then over here Donald Trump had three.· So the real
24· numbers were 93 and 197; is that correct.
25· · · · · · MATT DEPERNO:· That's correct.· So you can see


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·1· Joe Biden on election night got 197.· He got Donald
·2· Trump's 197 votes.· We know that that was --
·3· · · · · · MIKE LINDELL:· This is a hundred percent fact
·4· here?
·5· · · · · · MATT DEPERNO:· A hundred percent fact.
·6· · · · · · MIKE LINDELL:· Now what we're showing here,
·7· you guys, so everyone knows, these are all precincts.              I
·8· don't know if you can see this here, but these are all
·9· precincts, so let's do this precinct.
10· · · · · · 392, this is done through the machines, and
11· Donald Trump got eight.· What?· So here is the 392 to
12· eight, but the real number was 198 to 392.
13· · · · · · MATT DEPERNO:· And if you see here, Oak
14· Township Joe Biden got 392 on election.· In the reality
15· those are Donald Trump's votes.· Those were the 392.
16· · · · · · MIKE LINDELL:· Right.· They were just flipped.
17· In order for that to be off, and you do the conclusion
18· which I would right now, a hundred percent how could
19· that be of?· There would be something wrong with what?
20· · · · · · MATT DEPERNO:· The machines.
21· · · · · · MIKE LINDELL:· The machines.· The machines.
22· And what we're showing here right now, what you're going
23· to see, all this that we've been talking about, this
24· massive machine election fraud that went on where
25· countries hacked into our election and nationwide.· This


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·1· is one little county in northern Michigan, and these
·2· machines would do it right down to the precinct, okay.
·3· · · · · · What you're going to see, this is the
·4· example that was hand counted and, you know, the rest
·5· of the country didn't get to do that.· They didn't
·6· have the luxury of being able to do that, you know.
·7· So what I want to tell you all is this is the perfect
·8· example, just so you know, right down to the precinct
·9· level what went on with these machines.
10· · · · · · I wanted to see one more here.
11· · · · · · MATT DEPERNO:· Well, you can look at the
12· Kerney Township.· Joe Biden got 744 on election night.
13· Those were Donald Trump's votes.· He actually recorded
14· 16 on election night.
15· · · · · · MIKE LINDELL:· Okay.· So here's this county
16· that traditionally always is like 65 percent Republican,
17· 35 percent Democrat; correct?
18· · · · · · MATT DEPERNO:· That's correct.
19· · · · · · MIKE LINDELL:· Okay.· So everyone in the
20· county knew when these numbers came in on November 4th
21· they're going there's something wrong with the machines.
22· Everyone would think that.· It wouldn't matter if you're
23· a Democrat or a Republican, you're going wow.· And it's
24· not like what.· And they couldn't use the deviation
25· saying well, because this was because of mail-in voting


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·1· because there's no huge cities in there like Detroit,
·2· correct?
·3· · · · · · MATT DEPERNO:· That's correct.
·4· · · · · · MIKE LINDELL:· So I just want everyone to know
·5· this before you get into -- this is just a small county,
·6· northern Michigan, and they ended up flipping.· We had
·7· 15,718 votes.
·8· · · · · · MATT DEPERNO:· 15,718 votes.
·9· · · · · · MIKE LINDELL:· And 7,060 were flipped from
10· Trump to Biden; is that correct?
11· · · · · · MATT DEPERNO:· Yeah.
12· · · · · · MIKE LINDELL:· Wow.· By machines, right?· This
13· was done by the machines?
14· · · · · · MATT DEPERNO:· Absolutely by machines.· If you
15· look at the original vote count, 7,769 --
16· · · · · · MIKE LINDELL:· Right.
17· · · · · · MATT DEPERNO:· -- for Joe Biden and 4,509 for
18· Donald Trump.
19· · · · · · MIKE LINDELL:· Right, right.
20· · · · · · MATT DEPERNO:· That actually totals 12,278
21· votes.
22· · · · · · MIKE LINDELL:· Right.
23· · · · · · MATT DEPERNO:· By machine on November 3rd.
24· That's the vote tally.
25· · · · · · MIKE LINDELL:· Right.


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·1· · · · · · MATT DEPERNO:· That wasn't correct because if
·2· you look at the hand recount it was actually 5959 for
·3· Joe Biden and 9759 for Donald Trump, which gets us to
·4· 15,718 votes.
·5· · · · · · MIKE LINDELL:· Got you.
·6· · · · · · MATT DEPERNO:· So the question is where were
·7· the 3200 votes on election night?· Why weren't they
·8· recorded?
·9· · · · · · MIKE LINDELL:· Right.· Even with that, and we
10· don't know why.· We don't know why on that.· I'm here to
11· show everyone out the facts and evidence that I've seen
12· one hundred percent.· Here's one hundred percent.
13· · · · · · This little county in northern Michigan,
14· look at what the difference was.· It was a net of
15· 5,250 votes; is that correct?
16· · · · · · MATT DEPERNO:· That's a net for Donald Trump.
17· · · · · · MIKE LINDELL:· That's the net for Donald
18· Trump.· There was 7,000 -- that's where you get the
19· 7,060 votes.
20· · · · · · MATT DEPERNO:· So what I want to show you here
21· in the next slide is actually the number of registered
22· voters.· This is what you're getting to.· The number of
23· registered voters in the county is 22,082 votes, and
24· this is the total number of votes cast by machine on
25· November 3rd, 16,047.


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·1· · · · · · MIKE LINDELL:· Right.
·2· · · · · · MATT DEPERNO:· Of course, not everyone votes
·3· for the president.· That's why there's going to be some
·4· disparity.
·5· · · · · · MIKE LINDELL:· Right.
·6· · · · · · MATT DEPERNO:· But you see what happened in
·7· Antrim County.· On November 3rd there were 16 047 votes
·8· cast, and then on November 5th when they did a recount,
·9· somehow they gained two thousand more votes, and we
10· haven't got an explanation as to why that happened.
11· · · · · · MIKE LINDELL:· But we do know that there were
12· 7,000 -- if you were to say right now and go you know
13· what, we do know that 7,000 -- Donald Trump had 7,060
14· more votes net out of this county.
15· · · · · · MATT DEPERNO:· That's correct.
16· · · · · · MIKE LINDELL:· That's a hundred percent fact.
17· · · · · · MATT DEPERNO:· One hundred percent fact.
18· · · · · · · · · · · · · · · *
19· · · · · · STEVEN K. BANNON:· Mike, you talk about
20· providential.· Here you've got an attorney up in a small
21· county up in northern Michigan that really has a guy
22· come and complain about a school board seat.· This isn't
23· even about the presidential election.· But those folks
24· knew something was so extraordinary, this is a 65/35
25· county, and they know their neighbors.· This is rural,


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·1· you know, northern Michigan, so they knew something was
·2· up right away but the authorities didn't want to deal
·3· with it.· But you've got a guy just wanted to check the
·4· school board vote because he couldn't figure out what
·5· went wrong.
·6· · · · · · And that's why, remember, that's why I say
·7· Matt DePerno a Jimmy Stewart figure because he's the
·8· only attorney in the country that's really gotten in
·9· court, gotten a judge to issue an order to let him go
10· in and do an actual forensic audit on the machines.
11· What do you have to say about that, Mike?
12· · · · · · MIKE LINDELL:· I've talked to Matt in depth
13· and I said that's a little miracle that that happened.
14· Otherwise none of the machines would have got into.
15· Judges all across the country didn't want to be the
16· first one.· They were blocked.· Somebody would get to
17· them talking about procedure, so everyone says there was
18· no evidence looked at.· Yes, there was.
19· · · · · · In this county, and it's just like you
20· said.· Here's a county that's traditionally all the
21· way back, I looked all the way back, 65 percent red,
22· 35 percent blue, and all of a sudden you've got
23· 15,000 voters in the county, you know, and 7,700 or
24· seven -- over seven thousand votes got flipped and
25· you lose the other.· It's flipped on you and you're


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·1· talking to your guys in the coffee shop going how
·2· could this happen.· You're going who did you vote
·3· for.· They could almost go around the county and say
·4· who did you vote for.
·5· · · · · · They were all wondering that, but the big
·6· difference was the school board election.· All of a
·7· sudden there's only supposed to be a couple people
·8· voting, and I mean a couple.· I think It was two, and
·9· 500 or 300 and some people voted in that.· So they're
10· talking to each other going there's something wrong.
11· · · · · · So here they come in, and this judge under
12· the radar because they weren't talking about the
13· presidential election.· Otherwise I guarantee you the
14· secretary of state in Michigan or somebody would have
15· stopped this from even looking at it.· Wonder why.
16· We'll find out tonight.
17· · · · · · But I'll tell you what.· Matt comes in
18· there and they start digging into and they're going
19· wow, we want to do a forensic audit of the machines.
20· So you had the great, you know, Russ Ramsen, his
21· company comes up there.· They're the best, and they
22· tried to even block that, but they were able to get
23· what they needed out of the machine, the forensic
24· prints of the machine, everything that happened that
25· night, and here's an interesting fact.· That flip of


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·1· over 7,000 votes -- now I think I'm not going to be
·2· exact here, but probably the results were 85 to
·3· 90 percent Donald Trump and ten to 15 percent Biden
·4· · · · · · But the interesting thing is what you're
·5· going to see at the end of this show, the last half
·6· hour, you're going to see the cyber footprints we
·7· have now from the spy ware matches what was in that
·8· machines identical, and that is so key.· So now you
·9· take that machine, and the interesting fact, I want
10· everybody to know.· Everyone says they did everything
11· they could to discredit that county because they were
12· afraid because if you take that county and if it's
13· wrong there in that machine, that blatantly wrong
14· which is in their report, the report that Matt
15· DePerno that they did and that Russ Ramsen that came
16· out of there, I think they still have it under wraps,
17· it's a hundred percent they should have looked at
18· other machines and they didn't.
19· · · · · · STEVEN K. BANNON:· Okay.· Mike, I think the
20· next part is one of the most important parts of the
21· film.· I just want to say to tee it up, we're going to
22· go back to Michigan and Matt DePerno and Mike Lindell
23· about the forensic audit that went on.
24· · · · · · Remember, a couple of days after the
25· election what they said was that a clerk I think made


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·1· a problem with the software, the way it was installed
·2· or hit the wrong button, but this was all a clerical
·3· error and that it could easily be unwound and oop,you
·4· know, we really know and we made it.· But it's very
·5· important, this forensic audit by Ramsland's team up
·6· in Michigan, in northern Michigan is very important.
·7· We have DePerno explain it to Mike Lindell next.
·8· We'll be back in a few minutes.
·9· · · · · · · · · · · · · · · *
10· · · · · · MATT DEPERNO:· ·So after we filed the lawsuit,
11· at the same time we filed the lawsuit we also filed a
12· motion with the court asking the judge to allow us to
13· take forensic images of the Dominion system, the
14· Dominion voting system, and he grated that, and we went
15· in.· I believe it was December 6th with a team of
16· forensic scientists and data forensic scientists, we
17· captured the forensic images of the Dominion voting
18· system.· The master tabulator is what we call it sitting
19· in the county building along with all of the CF cards,
20· which are the program cards that run the actual software
21· along with the actual data cards or thumb drives that
22· collect and tally the results in each precinct.· We
23· captured the forensic images of all of those items.
24· · · · · · MIKE LINDELL:· Okay.· I want to say something
25· there.· So the people -- did you hire these people to do


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·1· that?
·2· · · · · · MATT DEPERNO:· Correct.
·3· · · · · · MIKE LINDELL:· Okay.· And you didn't know them
·4· before this, right?
·5· · · · · · MATT DEPERNO:· We didn't know them before, but
·6· the people got us in contact with them.
·7· · · · · · MIKE LINDELL:· With forensic experts on these
·8· particular machines?
·9· · · · · · MATT DEPERNO:· That's correct.
10· · · · · · MIKE LINDELL:· I just want everybody to know
11· that.· This wasn't just some hey, let's grab somebody
12· from the county and look at these machines.· These were
13· experts.
14· · · · · · MATT DEPERNO:· These are people with real
15· experience analyzing forensic software images.
16· · · · · · MIKE LINDELL:· Wow.
17· · · · · · MATT DEPERNO:· It can't be overstated enough
18· that these scientists were also data collection experts,
19· and that's important because what we saw in Antrim
20· County is the failure to properly follow procedures in
21· securing the election machines, the tabulation machines
22· and securely transferring the votes.
23· · · · · · The chain of custody in this situation was
24· completely tampered with.· What we know for certain
25· is that in the Dominion system manual the manual


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·1· tells us exactly how to connect the machines to the
·2· internet.· The manual tells you --
·3· · · · · · MIKE LINDELL:· Is it easy?
·4· · · · · · MATT DEPERNO:· It's very easy.
·5· · · · · · MIKE LINDELL:· Could a guy like me plug it in?
·6· · · · · · MATT DEPERNO:· I'm certain you could probably
·7· figure it out.
·8· · · · · · MIKE LINDELL:· Wow.
·9· · · · · · MATT DEPERNO:· The manual tells you how to
10· connect the machine to the internet.· In our case, what
11· we found through the forensic study that was conducted
12· was that on November 4th at 11:03 p.m. system files,
13· adjudication files and other source system files were
14· deleted from the Dominion system in Antrim County.· We
15· know that for a fact.
16· · · · · · MIKE LINDELL:· Wow.
17· · · · · · MATT DEPERNO:· They were removed.· We don't
18· know who removed them or how they gained access to
19· remove them.
20· · · · · · MIKE LINDELL:· Okay.· Hold on.· Hold on.· We
21· do now.· You'll see that later in the show.
22· · · · · · MATT DEPERNO:· In our case we don't know
23· precisely because Antrim County and the secretary of
24· state have not given us that information.
25· · · · · · MIKE LINDELL:· Right, right.


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·1· · · · · · MATT DEPERNO:· But we do know that those files
·2· were removed on November 4th at 11:03.
·3· · · · · · MIKE LINDELL:· What's the significance of that
·4· that they're removed?· What does that do to you as
·5· trying to investigate this?· What did that do?
·6· · · · · · MATT DEPERNO:· Well, number one, I presume,
·7· and we've asked the Antrim County prosecutor to
·8· investigate whether that was a crime to remove voting
·9· information from the system prior to the expiration of a
10· 22-month period which the items --
11· · · · · · MIKE LINDELL:· When that's removed, that means
12· that was hard for you to do your audit?
13· · · · · · MATT DEPERNO:· That's hard for us to review
14· the forensic images to conclusively understand whether
15· the machine connected to the internet because in
16· Michigan at least 38 other counties used the Dominion
17· software.
18· · · · · · MIKE LINDELL:· Right.
19· · · · · · MATT DEPERNO:· So if this is happening in
20· Antrim County, and it was exposed in Antrim County
21· because of the disparity because there were only 15,718
22· votes cast.
23· · · · · · MIKE LINDELL:· Right.· You wouldn't notice
24· this in a bigger city if it was that low a number.
25· · · · · · MATT DEPERNO:· Correct.· If you were in Wayne


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·1· County and 7,060 votes flipped you wouldn't notice it.
·2· My team of forensic scientists worked tirelessly after
·3· December 6th after we collected the forensic images for
·4· about a week.· They worked very hard to review those
·5· images and put together a report.· And because of a
·6· protective order that was in place in this case I had to
·7· file a motion with the court asking the judge to allow
·8· us to release the report that we had prepared, and we
·9· did that.· We did that on December 14th.· The judge
10· granted our request and allowed us to release what's
11· called the Allied Security Operations Group Preliminary
12· Summary, Version Two dated December 13 --
13· · · · · · MIKE LINDELL:· Is that public?· Is that
14· public?
15· · · · · · MATT DEPERNO:· It is public.
16· · · · · · MIKE LINDELL:· So this is the stuff that got
17· put out there.· And I guarantee you it was probably put
18· out there.· Heck, somebody probably put it on their
19· Twitter and I'll bet you it was gone.· They probably
20· tried to -- that's just my opinion.· I had to throw that
21· in there.
22· · · · · · MATT DEPERNO:· Well, I can tell you it's been
23· on my Web site at DePernolaw.com since December 14th,
24· and it has constantly been suppressed.· For people who
25· tried to share the link on Facebook or Google or through


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·1· social media it gets suppressed, and people are not
·2· allowed to share it.· In some cases they try to share
·3· it, and a screen comes up that you says that this
·4· information is not --
·5· · · · · · MIKE LINDELL:· Here you had a perfect report.
·6· I mean, even the judge said you could put it out there,
·7· correct?
·8· · · · · · MATT DEPERNO:· Yes.· Everything we've done in
·9· this case has been permitted by the court in terms of
10· the ability to release information.· But what it is,
11· actually it's information that if revealed would show
12· that the CEO of Dominion software, when he testified in
13· front of the Michigan senate, this information would
14· show that he was not telling the truth about how the
15· Dominion system works.
16· · · · · · MIKE LINDELL:· Wow.
17· · · · · · MATT DEPERNO:· And here's what we concluded
18· when we released the report.
19· · · · · · MIKE LINDELL:· Wow.
20· · · · · · MATT DEPERNO:· This is what it states.· We
21· conclude that the Dominion voting system is
22· intentionally and purposefully designed with inherent
23· errors to create systemic fraud and influence election
24· results.· Now, that's not my words.· That's the words of
25· the forensic team that looked at the forensic images and


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·1· came to a conclusion about what they saw.
·2· · · · · · MIKE LINDELL:· Right.
·3· · · · · · MATT DEPERNO:· That's the report.
·4· · · · · · MIKE LINDELL:· They concluded that the only
·5· reason they would have a machine like this is if you
·6· wanted to steal an election.
·7· · · · · · MATT DEPERNO:· Right.· Because what they also
·8· found is that this machine in Antrim County generates
·9· errors at the rate of 68 percent based on ballots that
10· you put in the machine.· Remember this.· When you take a
11· piece of paper and you vote on it, you think when you're
12· voting that you're tallying your vote, and you put that
13· piece of paper into the Dominion tabulation machine,
14· right?· You know how that process works.
15· · · · · · MIKE LINDELL:· Right.
16· · · · · · MATT DEPERNO:· And you think you voted, but
17· you haven't voted yet.· You haven't voted until that
18· machine actually tabulates your result in the system.
19· When you put the paper in the tabulator, the tabulator
20· takes that paper, converts it to data, and data can be
21· manipulated.
22· · · · · · In the case of the way the Dominion system
23· works, as I understand it based on information given
24· to me by my forensic team, when you insert that paper
25· ballot into the machine and when an error is


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·1· tabulated, and remember this machine tabulates them
·2· at 68 percent error rate.
·3· · · · · · MIKE LINDELL:· Wow.
·4· · · · · · MATT DEPERNO:· Those ballots, those error
·5· ballots go to what's called adjudication.· Adjudication
·6· is a process where someone else other than the voter is
·7· able to look at that ballot on a screen and determine
·8· the voter's intent and vote that ballot for the voter.
·9· With adjudication and the way the Dominion system works,
10· you can accumulate over the night a number of ballots.
11· And what I can tell you, what's interesting is the 2020
12· log files are missing, but they are present for 2018 and
13· 2016.· This happened at 11:03 p.m. on November 4th.
14· · · · · · What happened on November 4th, the day
15· after the election, at least in Michigan this story
16· broke across the state that Antrim County had flipped
17· in this manner.
18· · · · · · MIKE LINDELL:· Right.· So it was such a
19· deviation, that's why we all heard about Antrim County.
20· It was such a big deviation it would be like the whole
21· time for decades or years or whatever you're 65 percent
22· Republican and 35 percent and you flip, you've got the
23· whole towns people having coffee going what did you do.
24· They probably did a recount just themselves at the
25· coffee shops, you know.· So now that makes sense.· It


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·1· made national news we all heard about it.
·2· · · · · · · · · · · · · · · *
·3· · · · · · STEVEN K. BANNON:· Look, in this small county
·4· in northern Michigan, this gets to the heart of what the
·5· problem is here.· First off you've got the 68 percent
·6· situation where, you know, it's over count by 68 percent
·7· or they're off by 68 percent.· You've also got the
·8· situation where, you know, Allied is saying in the
·9· manual that they show the manual, you've shown it, that
10· they actually connected to the internet.
11· · · · · · Mike, is that where you guys believe that
12· you caught Dominion in a bald-faced lie because they
13· say hey, there's no possibility this thing could be
14· hooked up to the internet, and yet here in the
15· internet you found it can be connected to the
16· internet?
17· · · · · · MIKE LINDELL:· No.· That's just one of many.
18· I mean, it's just one lie after another with these
19· people.· I mean, it connects to the internet, there are
20· servers overseas.· It just goes on and on.
21· · · · · · But when you talk about this case in
22· particular, you just heard -- you know, they're
23· trying to -- right in the thing based on our study,
24· we further conclude that the results from Antrim
25· County should not have been certified.· I mean, this


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·1· is right here in their report.· And instead -- not
·2· only that, they should have just went to every other
·3· county then.· If this doesn't show the whole country
·4· here, you know, here you had evidence.· You know, the
·5· one machine you got to open up and everyone says
·6· we're not going to open up anymore, and by the way,
·7· they weren't online.· Well, here it is right here
·8· they were online.· Not only online, but we've got --
·9· you know, they were used, and he says it right here,
10· when they went in to check the cyber footprints to
11· check these machines they seen all that.· They said
12· you couldn't have done -- the things that couldn't be
13· done, you had to be online.· This is stuff they
14· asked.
15· · · · · · I did my own due diligence.· I asked Russ.
16· I asked Russ and his team.· I said so these machines
17· would have to be online in order for what you see on
18· there to be done.· Absolutely, hundred percent.
19· · · · · · STEVEN K. BANNON:· Okay.· The other thing I
20· want to get to is their report.· Is it ever going to be
21· fully put out and here's the reason.
22· · · · · · There are people in the left, people in the
23· mainstream media that push back on the credentials of
24· Russ.· I think there were also some calculation
25· mistakes done in Michigan by adding some of the stuff


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·1· in the court filings.· They had some mathematical
·2· mistakes, including some districts in Minnesota, and
·3· so people have questioned Allied.· But in their
·4· report, and I don't think this could be more brutal
·5· or more stark.· It says, and I quote, we conclude
·6· that the Dominion voting system is intentionally and
·7· purposefully designed with inherent errors to create
·8· systematic fraud and influence election results.
·9· · · · · · Now, when the state of the Texas did their
10· assessment, when they decided not to choose Dominion
11· systems, they weren't this harsh.· They were pretty
12· tough on Dominion in that they had all these types of
13· flaws they felt in their system, that they just
14· weren't tight enough, that's why they weren't
15· selected for the state of Texas.· Here they say
16· they're designed to have these flaws.
17· · · · · · Now, do you believe this?· Is this one of
18· the things that you're depending upon, this is Allied
19· security analysis of Antrim County?· Is this one of
20· the things that you depended upon when you make these
21· assertions that Dominion systems is purposefully
22· designed to actually have flaws so that you can
23· actually flip votes, of which they adamantly say
24· never happened.· The system is not designed to do
25· that.· In fact, they say it's actually impossible to


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·1· do that.
·2· · · · · · MIKE LINDELL:· Yeah.· You know, you're right,
·3· Steve.· I wasn't a hundred percent then.· I could look
·4· there.· I didn't see, you know, I didn't see them
·5· plugged in with my own eyes so I could be very
·6· subjective.· It says in the manual you can go online,
·7· and you have thousands and thousands of affidavits from
·8· people that said they were online.· You have people that
·9· ran them that said they were online, but that wasn't
10· what I did my thing.· What you're coming up here in the
11· show is what I knew that they were online.· And even
12· being online, for me I'm going okay.· Even if they were
13· online, you know, did people -- did they steal our
14· election.· That would be my question.
15· · · · · · I'm going okay, you proved they were on
16· line.· We all to that, but does that prove that they
17· actually stole votes from servers overseas?· No.· But
18· what you're going to see here tonight is yes, they
19· did.· And this is when -- I kept getting -- Steve, I
20· went like this with me.· I kept hearing more and more
21· things.· I would dig into it.
22· · · · · · You know, with the Russ Ramsland group, I
23· dig into them probably a month and the half before I
24· ever got that piece of evidence on January 9th.· So
25· I'm digging into them, I'm going -- and all of a


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·1· sudden they find all this stuff in Antrim County, and
·2· I'm going wow, we got it.· They showed the machines.
·3· All you've got to do is just open up the machines in
·4· this country and you're going to find all of these
·5· votes that were flipped and flipped.
·6· · · · · · STEVEN K. BANNON:· Look, you're a tough
·7· business guy.· You run your business -- people maybe
·8· don't know this, but it's not just making pillows, but
·9· it's the math in back of that and the math of marketing.
10· You're very detailed oriented when it comes to numbers.
11· You're very detail oriented about getting to the bottom
12· of when numbers change.· Are you confident that you've
13· done the due diligence on Allied because I've got to
14· tell you, their report, and I think the audience needs
15· to know, when is the full report coming out because I
16· don't think the full report's out.· I think some parts
17· are held back about this.· People need to see this
18· report.· They need to read the report, and DePerno I
19· think needs to become a bigger public figure about this
20· because to me this is one of the hearts of the cases.
21· · · · · · MIKE LINDELL:· Well, you know, he was just a
22· small town lawyer guy that came in there to help the
23· school board thing, and he's all of a sudden thrown into
24· the public eye and you know what, there is a report.
25· The stuff that came out, there's stuff -- this court


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·1· case is still going on.· They can't put stuff out there
·2· like you're all seeing, and the media used that to say
·3· oh, there's this and this and this.
·4· · · · · · The bottom line is that they showed
·5· straight out that there were 7,300 votes flipped or
·6· whatever it was.
·7· · · · · · I want to tell you this too.· You know,
·8· maybe I'm just seeing --
·9· · · · · · STEVEN K. BANNON:· By the way, hang on.· You
10· don't believe what their thing was.· It was a clerk or
11· it was a software situation or the clerk didn't install
12· the right software or didn't flip it?
13· · · · · · MIKE LINDELL:· No.
14· · · · · · STEVEN K. BANNON:· You don't believe what they
15· came out and said the official part line.· You came out
16· and you don't leave that?
17· · · · · · MIKE LINDELL:· One hundred percent I checked
18· that out because when the report came out I talked to
19· them guys.· I said what do you mean they're saying this
20· and this.· These machines, they have a feature in them,
21· the weighted race feature so you just set them.· You set
22· them and you can hack into them.
23· · · · · · But what I want to say is this.· I'm going
24· to go a step further here.· There might be a third
25· miracle in here because in Antrim County, let's just


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·1· say they would have said okay, let's open up the
·2· machines in this country.· Every single state would
·3· have been flipped.· You'd have seen all the votes
·4· that were flipped, but you might not have seen who
·5· did it and where all they came from, the servers
·6· overseas.· So this evidence that came out a little
·7· later, and when I got ahold of them on January 9th
·8· when people reached out to me, you know, that could
·9· be the third miracle.
10· · · · · · It all leads up to these machines getting
11· found out, it's an attack on our country, and it's
12· coming up here.· You know, what Matt's doing right
13· now, the case is still open, and all this stuff can
14· be attached to that, and we can go on from there.
15· · · · · · This is what I want to tell the public.
16· You know, you've got all these things out there.
17· They say where's our hope.· The hope is that you get
18· this video, that you get this documentary out to
19· everyone so that the media can't suppress what we
20· have here.     %
21· · · · · · We have good ongoing cases.· Antrim County
22· is still going on.· That was just the media telling
23· we don't want to open up anymore machines.
24· · · · · · STEVEN K. BANNON:· Okay.· Yeah.· What I want
25· to do, Mike, is go to the next section because here's


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·1· where you see Matt DePerno, a small town lawyer, is
·2· going up against the entire system, and the system is
·3· trying to disbar everybody that's contesting this, so
·4· let's see the next section of the film and then we'll
·5· talk about it.
·6· · · · · · MIKE LINDELL:· Okay.
·7· · · · · · · · · · · · · · · *
·8· · · · · · MATT DEPERNO:· Antrim County was not
·9· certifiable based on what the machine spit out on
10· election night, and what we've requested is a full audit
11· of the county.· We want all of the machines tested.
12· We'd like to see all the machines tested across the
13· state.· We'd like to see audits across the state of
14· Michigan.· This is from the actual Dominion manual.
15· · · · · · MIKE LINDELL:· The Dominion manual.· Wow.
16· · · · · · MATT DEPERNO:· This tells you how to connect
17· the machine to guess what.
18· · · · · · MIKE LINDELL:· The internet.
19· · · · · · MATT DEPERNO:· Yes.
20· · · · · · MIKE LINDELL:· Did everybody hear that?· You
21· have to be on the internet in order today do this.· So
22· we're going to show you here I thought these machines
23· didn't go -- that's what we were told as the public.
24· · · · · · MATT DEPERNO:· It's what we are told.
25· ·This is another slide from the Dominion software


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·1· manual that tells you exactly how to set up your
·2· system to connect to the internet.· Those are
·3· important slides to see.· But again, another slide
·4· from Dominion voting image cast central which tells
·5· you, as you can see in the bottom corner here, it
·6· says box number one, insure that the work station is
·7· connected to the network switch with an ethernet
·8· cable.
·9· · · · · · MIKE LINDELL:· Wow.
10· · · · · · MATT DEPERNO:· What does an ethernet cable get
11· you?· To the internet.
12· · · · · · MIKE LINDELL:· To the internet.
13· · · · · · MATT DEPERNO:· This is all information that
14· we've been able to look at from the actual manual.
15· · · · · · MIKE LINDELL:· Right.· So what have we got
16· here?· That looks like it was manipulated.· What?
17· · · · · · MATT DEPERNO:· Well, these spikes, these blue
18· spikes throughout this show you where Joe Biden got what
19· we call injections of votes at very specific times.
20· These big ones on the left are November 3rd, so I'd be
21· curious to see if your data that you have, it will,
22· correlates --
23· · · · · · MIKE LINDELL:· So everybody knows what you're
24· going to see.· When you see this spike, you're going to
25· see a forensic footprint, how that happened and who did


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·1· it.· China?· Yes.
·2· · · · · · If you're on the internet the bottom line
·3· is you can cheat, you can do all kinds of things
·4· because otherwise you can't explain any of these
·5· numbers, right?
·6· · · · · · MATT DEPERNO:· That's correct.· The machine
·7· results don't happen up with the hand tabulators.
·8· · · · · · MIKE LINDELL:· And once again, the purpose of
·9· this whole show obviously is to show everyone in the
10· world that these machines -- that this was the biggest
11· fraud, the biggest crime I believe against humanity.
12· This is a crime against humanity.· If we wouldn't all be
13· talking about this now, and this is all the truth is
14· going to be revealed.
15· · · · · · MATT DEPERNO:· Michigan is under siege because
16· this is what I'm dealing with right now.· Dana Nessel is
17· the attorney general in the state of Michigan.· She sent
18· this tweet out not too long ago, and it says fun fact.
19· Lawyers who practice in Michigan are required to take an
20· oath to support the Michigan and U.S. Constitutions, not
21· to file unjust and/or frivolous actions or mislead the
22· court.· The spate of Trump laws in our state violates
23· each of these tenets.· It demeans our profession.
24· · · · · · MIKE LINDELL:· Wow.
25· · · · · · MATT DEPERNO:· What she's calling for, and she


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·1· said this publicly, she's calling for attorneys in
·2· Michigan to be disbarred who file lawsuits in Michigan
·3· challenging this election.
·4· · · · · · MIKE LINDELL:· Could you guys all hear this?
·5· This is what we're up against.· This Dominion, these
·6· machines is the biggest fraud in election.· They stole
·7· this, but now the truth is all going to be revealed.
·8· People like this lady, what's her name?
·9· · · · · · MATT DEPERNO:· Dana Nessel.
10· · · · · · MIKE LINDELL:· Dana Nessel.· How dare you put
11· this out.· You're supposed to protect Michigan and the
12· U.S.· This is what I'm doing.· This is why I'm getting
13· attacked.· This is why everybody's getting attacked.
14· You know, here you are the attorney of one of the few
15· open cases where we have a hundred percent proof.
16· · · · · · First they try and suppress the actual
17· report from it right here, right, and now they're
18· trying to just get rid of you.
19· · · · · · MATT DEPERNO:· That's true.· So now we have
20· Michigan executive officials who are now using the power
21· of government to threaten those with whom they disagree
22· with sanctions.· They're threatening me and others with
23· disbarment.
24· · · · · · MIKE LINDELL:· Wow.
25· · · · · · MATT DEPERNO:· So bringing forth evidence now


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·1· in our country not only gets you the mockery of the
·2· mainstream media --
·3· · · · · · MIKE LINDELL:· I've been there.
·4· · · · · · MATT DEPERNO:· -- who refuse to actually
·5· report on it or the truth, but it now gets you ethics
·6· complaints filed against you if you are a lawyer.
·7· · · · · · MIKE LINDELL:· Wow.
·8· · · · · · MATT DEPERNO:· So what do we do about that?
·9· When the Michigan attorney general, who is the chief law
10· enforcement person in the state threatens those with
11· whom she disagrees, do you know what that is, that's
12· tyranny.· You know, that is totalitarianism.
13· · · · · · So in your election system, and it's been
14· going on for years after every election, people
15· challenge elections.· That happens on a regular
16· basis.· That's part of our republic.· That's part of
17· public discourse.· We're enabled to go in and have
18· those discussions through the court system to
19· challenge elections.· And what Dana Nessel is saying
20· is that you can't do that anymore because if you try
21· to do it she will threaten you, she will try to take
22· your license, and she will try to silence you.
23· · · · · · MIKE LINDELL:· Wow.
24· · · · · · MATT DEPERNO:· So her statements, this is no
25· longer part of public discourse.· This is chilling.


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·1· · · · · · MIKE LINDELL:· Do you think she's talking
·2· about all the lawyers?· She's talking about you.
·3· · · · · · MATT DEPERNO:· Well, we've talked about -- I
·4· totally agree with you.· She is talking about me, and
·5· we've talked about the importance of public discourse.
·6· Her tweet, as I said, chills public discourse.· What it
·7· does is it asks a lawyer to put their fear above the
·8· representation of their client in legitimate litigation.
·9· · · · · · MIKE LINDELL:· Right.
10· · · · · · MATT DEPERNO:· That is tyranny, that's
11· totalitarianism, that is fascism.
12· · · · · · MIKE LINDELL:· She wants to scare you into
13· doing nothing.
14· · · · · · MATT DEPERNO:· But it gets worse.
15· · · · · · MIKE LINDELL:· Right.
16· · · · · · MATT DEPERNO:· Around November 20th Dana
17· Nessel did an interview with the Washington Post, and in
18· that interview she threatened every Michigan legislator,
19· and she said that any Michigan legislator with whom she
20· disagreed with, any of them who challenged these
21· election results, she would investigate them and seek
22· criminal sanctions against them.
23· · · · · · MIKE LINDELL:· Wow.
24· · · · · · MATT DEPERNO:· That is saying to these
25· Michigan legislators --


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·1· · · · · · MIKE LINDELL:· Stay silent.
·2· · · · · · MATT DEPERNO:· -- if they do anything to bring
·3· forth the word of their constituents to challenge
·4· election results, they could be charged criminally.
·5· It's asking elected officials again to put their fear
·6· above the word and the choice of their constituents.
·7· · · · · · MIKE LINDELL:· Wow.
·8· · · · · · MATT DEPERNO:· And you ask yourself why did so
·9· many elected officials in Michigan refuse to look at the
10· evidence that was presented.
11· · · · · · MIKE LINDELL:· They did it out of fear.
12· · · · · · MATT DEPERNO:· Or time and time again say that
13· they haven't seen any evidence of voter fraud or vote
14· interference.
15· · · · · · MIKE LINDELL:· Right.
16· · · · · · MATT DEPERNO:· And you combine that with what
17· we've now learned about the interview Dana Nessel gave
18· on November 21st telling elected officials they'd be
19· charged criminally.
20· · · · · · MIKE LINDELL:· Right.
21· · · · · · MATT DEPERNO:· And I say this right now.
22· Everything that Dana Nessel has done in terms of
23· threatening me and threatening state legislators
24· violates the Michigan Rules of Professional Conduct and
25· she should resign immediately.· It demonstrates that


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·1· she's not fit for office.
·2· · · · · · MIKE LINDELL:· Well, there's many like her, we
·3· know that.· This is going to reveal all the evil in our
·4· country, all the criminals in our country, all the ones
·5· that tried to suppress this, and that's just from social
·6· media, like Jack Dorsey, like Mark Sickabuck.
·7· · · · · · · · · · · · · · · *
·8· · · · · · STEVEN K. BANNON:· Okay, Mike.· I want to
·9· bring a couple things.· Eric Loomer, the executive that
10· works for Dominion, I believe he's actually suing
11· people.· I think he's brought so many suits but you say
12· in here, you actually I guess catch him on the video
13· talking about the internet, and this once again gets
14· back to the internet.· Our Dominion machines set up to
15· be on the internet.· Were they attached to the internet.
16· I think the company adamantly opposes, but talk to us
17· about Eric Loomer.· I don't know if you've been sued yet
18· or not.· You keep telling guys I've got the evidence so
19· go ahead and sue me.· Has Loomer contacted you?· Has
20· Loomer said he's going to sue you with all the outbursts
21· you've had about Dominion voting systems?
22· · · · · · MIKE LINDELL:· No.· Dominion sends me letters
23· like you have been warned.· You know what, I've told
24· them to sue me.· Eric, come on, please sue me,
25· Smartmatic, all of you guys because they won't.· And you


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·1· know when they do go out and they do these fake lawsuits
·2· and they go and they're suing someone, they're trying to
·3· do that.· The only reason they're doing that is so that
·4· networks, news networks and everybody's afraid of
·5· talking about it so they end up oh, we're going to get
·6· sued if anybody talks about voter fraud and election
·7· fraud.· Are you kidding?· You know, this is -- I would
·8· love it.· Come on, Eric.
·9· · · · · · STEVEN K. BANNON:· So by the way, it's Eric
10· Coomer.· I had a little typo there in the notes.
11· · · · · · Now, I want to talk about Dana Nessel, the
12· attorney general.· The pressure she's putting on
13· lawyers like DePerno and also state legislators, I
14· think they're trying to disbar guys, they bring
15· cases, they're also threatening criminal sanctions.
16· What is going on?
17· · · · · · Mike, why are the elected officials in the
18· state of Michigan so afraid to drill down and find
19· out what's going on with these machines in Antrim
20· County?· I don't understand it.· Explain that to the
21· audience.
22· · · · · · MIKE LINDELL:· It's not explainable.· I mean,
23· you're trying to stop a court case from moving forward
24· that could affect every single person for the rest of
25· our time here on earth.· I mean, this is crazy.· Why


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·1· would they do that?· They're either trying to hide
·2· something, that's the only reason, that can be the only
·3· reason, and it's not just Michigan.· It's across this
·4· country and all these states that they do.
·5· · · · · · But I'll tell you, what she does, that Dana
·6· Nessel to threaten this guy, this guy that was a home
·7· town lawyer that went in to help a school board
·8· election because he knew -- the town knew.· The town
·9· came to him.· They said there's something wrong here
10· and they trace it right to the machines.· You know,
11· here it is, but the case is still open so they are
12· very threatened by it.
13· · · · · · It's really hard for them to keep that out
14· of the news.· So what does she do?· Dana Nessel
15· sticks these things up on her Twitter and stuff and
16· says hey, we will suppress any lawyer, anybody that
17· talks about it.
18· · · · · · And you know, I had a long talk with Matt
19· about that.· I said Matt, it's people like you and I
20· that are brave, that just keep going forward ahead in
21· spite of all that because you know, what we have the
22· absolute proof, but we will get that.· We will get to
23· the absolute truth.
24· · · · · · STEVEN K. BANNON:· So Mike, I've got to ask
25· you this.· You say the film is absolute proof.· You're


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·1· absolutely certain.· You're a savvy business guy.
·2· You've gone through this, you've done your due
·3· diligence.
·4· · · · · · MIKE LINDELL:· Yep.
·5· · · · · · STEVEN K. BANNON:· One of the questions people
·6· have is that the state of Michigan, I think there are 28
·7· other counties in Michigan that use the Dominion voting
·8· system.· The state certified this, and then the
·9· Republican Party controls I believe the House and the
10· Senate.· They didn't fight it.· In fact, they had this
11· big fiasco down in Wayne County.· They didn't fight it.
12· They just let it all pass through.
13· · · · · · The votes did get certified.· They got
14· certified in a Republican house and state -- you
15· know, and the senate just kind of stepped aside and
16· let it be certified.· So tell the audience how
17· they're supposed to think about that when this is a
18· Republican legislature.· Many of these counties are
19· Republican, particularly a bunch of them are in rural
20· areas.· They all certified this.· Is this a software
21· problem.· Make the audience understand, how did
22· everybody certify it?
23· · · · · · MIKE LINDELL:· Steve, they're either scared,
24· crooked or we don't know.· This is the big thing in this
25· country.· We don't know.· That's why when you plan an


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·1· attack on a country and you're China and you're planning
·2· this attack and you've got five years or how many years
·3· to plan it, you've got things figured out, you know,
·4· just like a backup plan when they had to get all these
·5· votes and all these deviations we see.
·6· · · · · · The part that's unexplainable is just that.
·7· None of the legislatures did their job.· But you know
·8· what, that's what they use with this China virus.
·9· They also use that.· That's a whole other
10· conversation.
11· · · · · · They had things like last summer when I
12· brought that before Anderson Cooper, the
13· Myoleander.com.· They had the hydroxychloroquin.· All
14· these things that could have maybe opened up our
15· country or all these governors that are suppressing
16· people in doing this, they use that for this
17· election.· They also used that, but it's
18· unexplanable.· There's a lot of unexplainable things.
19· But what do we say.· We've got the absolute truth and
20· then the absolute truth will come out.
21· · · · · · That truth will include -- a lot of people
22· are going to sit before people and go, you know,
23· courts or whatever and go why did you do that.· Why
24· would you certify something.· Now, I will give one
25· thing because, you know, they suppressed that machine


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·1· vote or the machine so much that like I say, it's
·2· just coming out now.· I heard about it on January 9th
·3· where I had a hundred percent proof.
·4· · · · · · Now, they had a hundred percent proof in
·5· Antrim County, so what did they do.· Whoever tried to
·6· stop it, I'm just saying that's one of the things we
·7· will find out too because it's very unexplainable how
·8· they could all do that to the American people.· They
·9· did it to the American people, they did it to their
10· own families and everybody.· Everybody played a role
11· in this in some way when you talk to these
12· politicians that dropped the ball.
13· · · · · · STEVEN K. BANNON:· Okay.· Well, that's
14· something that's got to be resolved because this issue
15· about the certification is still out there.
16· · · · · · You talk about the Chinese Communist Party.
17· The next section is quite explosive.· We're going to
18· get to Mary Fanning.· She's an investigative
19· reporter.
20· · · · · · I'm very proud -- this section talks about
21· the Chinese Communist Party and their involvement.
22· I'm very proud of being I think the first civilian
23· that's ever been sanctioned by the Chinese Communist
24· Party.· It happened four minutes into the Biden
25· administration when Mike Pompeo, Matt Pottinger from


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·1· the National Security Council, Peter Navarro and
·2· myself and others, about 24 others were personally
·3· sanctioned by the Chinese Communist Party for our
·4· activities to confront and take down the Chinese
·5· Communist Party.
·6· · · · · · Mary Fanning, a very well-known
·7· investigative reporter joins Mike Lindell next for
·8· some pretty shocking revelations.
·9· · · · · · · · · · · · · · · *
10· · · · · · MIKE LINDELL:· Well, everyone, this is the
11· moment you've all been waiting for.· What you're going
12· to see now is one hundred percent proof that we had upon
13· our country the biggest cyber attack in history, and I'm
14· going to bring on Mary Fanning to explain how it all
15· happened and show you the hundred percent proof.· Mary,
16· thanks for coming on.
17· · · · · · MARY FANNING:· Thanks, Mike.· Today we've been
18· watching cyber security experts, and they've explained
19· some of the things that happened in the election, some
20· of the election fraud.· But what we're seeing here is,
21· if you look at this chart, is that there were cyber
22· security experts who began collecting information on
23· November 1st, so this was before, during and after the
24· election that they were collecting documentation.· In
25· fact, they collected terabytes of information that


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·1· document election fraud before an intrusion into our
·2· election.· This was collected in 2995 counties in the
·3· United States.· This was collected in realtime, all
·4· right.
·5· · · · · · So if you go to the chart, what you will
·6· see is the documentation of foreign interference in
·7· the election.· The first column if you look at the
·8· chart, that shows that on 11/5/2020 at 7:43 and 38
·9· seconds we had a foreign intrusion, and it shows the
10· IP address, the internet protocol address.· That is
11· the number of that protocol address, of the hacker
12· that entered into our election.
13· · · · · · The second column is the owner or source of
14· that IP address.· That shows that China-net in
15· Beijing Province entered the election.· It shows an
16· ID.· That is the unique address of a computer.· That
17· shows the exact computer using that IP source that
18· entered into our election.
19· · · · · · The next is the target.· That's the IP
20· target.· That's the internet protocol address of the
21· target, all right.· Then the next is the target
22· state.· In this case it show that it's Michigan.
23· Where in Michigan, that's the next column.· It shows
24· that it's in Emmet County, Michigan.· Then the ID
25· target.· That is the unique address of another


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·1· computer in the United States that the hacker has
·2· gone into, and then it shows the method of intrusion.
·3· · · · · · Now, in some cases you're going to see that
·4· they used credentials.· That means that they have
·5· fake credentials because there are administrators
·6· that have been placed on the secretary of state's
·7· computers, false administrators.· In other cases it
·8· shows that they broke through the firewall.· In some
·9· cases they did both.
10· · · · · · Now in the next column it shows whether it
11· was successful.· You'll see a Y.· That shows that
12· yes, it was successful.· Now, oftentimes they're not
13· successful and they have to go back and try for
14· another intrusion, and then it shows whether that's,
15· in fact, successful as well.
16· · · · · · Then in the final column what you're seeing
17· are votes changed.· Now, in this particular case when
18· they went into Emmet County, Michigan, the votes that
19· were changed which they stole, 3477 votes from Donald
20· Trump.· That's what you're looking at.
21· · · · · · Now, as you go through this document and
22· you look at all the multiple intrusions into our
23· election, what you'll notice that over 60 percent of
24· these intrusions come from China, so that is over
25· 66 percent is what the number is, over you have


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·1· percent of the intrusions into our election came from
·2· China.· Why is this important?· Well, some things
·3· were set in place, including some of the changes that
·4· took place in this country, particularly when we had
·5· the Wuhan virus or the COVID-19 virus hit this
·6· country, and we have a video -- well, first, Mike, do
·7· you have any questions about this chart and what it
·8· is showing?
·9· · · · · · MIKE LINDELL:· Yeah.· So what you have here,
10· each one of these is its own time stamp that is one
11· hundred percent proof because you have that not only
12· where it came from, basically you have their
13· identification, you have who they were attacking, their
14· identification.· This is what everybody would want.· If
15· you ever looked in and did an audit, wanted to look into
16· a computer and wanted to look what went on in
17· cyberspace, this is what you'd be looking for, correct?
18· · · · · · MARY FANNING:· This is forensic evidence of
19· foreign footprints as they entered our election in a
20· cyber warfare attack on our election, and then it tells
21· exactly where did they come from, which computer
22· exactly, exactly the time stamp, exactly which computer
23· they entered into, in what state, which county, the ID,
24· the unique ID of the computer that they entered into,
25· and then it shows how they entered using false


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·1· credentials or breaking through the firewall or both.
·2· · · · · · MIKE LINDELL:· Wow.
·3· · · · · · MARY FANNING:· Were they successful the first
·4· time, the second time, and then it shows the votes that
·5· they stole from Donald Trump.· This is proof positive.
·6· This is documentation of a cyber attack, but it also is
·7· documentation of the footprints of those who entered our
·8· election.
·9· · · · · · MIKE LINDELL:· Right.· And look, if
10· everyone -- here even you don't think this was all put
11· together in one big attack?· Everyone from Donald Trump
12· down, down, down.· This wasn't another country that
13· wanted it the other way.· This was the biggest attack in
14· history.· And Mary, we have pages and pages, right,
15· thousands of these pages of every county, right, of
16· every single attack.
17· · · · · · MARY FANNING:· There are thousands of pages of
18· the documented footprints, the foreign intrusion into
19· our elections.· We see this is coming from China, in
20· many cases from Waway, from Alibaba Cloud Service, from
21· China Unicom, from Ucloud, from China Mobile Tietong.
22· You know, this also came from Iran as well.· But this is
23· a foreign intrusion.· This is a theft of our vote, but
24· it also is documenting exactly the votes, the vote
25· totals that were stolen from Donald Trump.


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·1· · · · · · MIKE LINDELL:· Right.· Well, this is what I've
·2· been telling everyone.· This is where you've got, if you
·3· add these numbers up, when I said, and I actually told
·4· the President when I met him, I said, you know, you
·5· actually won this election by almost 80 million votes
·6· for you, for Donald Trump, to almost 68 million for
·7· Biden, and that's not counting all the other kind of
·8· theft we talked about earlier in the show.
·9· · · · · · These are the real numbers that were taken
10· off and that were flipped.· I mean, in incredible,
11· everybody.· This is historical proof too.· We not
12· only have -- this is what we've all been waiting for.
13· And Mary, you said there's a video too we want to
14· show?
15· · · · · · MARY FANNING:· Yeah.· This is a documentation,
16· the proof positive by cyber experts from in this country
17· that began documenting the theft of our election.
18· · · · · · MIKE LINDELL:· Wow.
19· · · · · · MARY FANNING:· They put together the full
20· documentation of every vote beginning on November 1st.
21· So again from before, during and after the election they
22· documented the footprints of the foreign intrusion into
23· our election.· That means that foreign adversaries,
24· really, because this was an act of war to come in and
25· steal the election from the American people and decide


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·1· who our foreign adversaries were going to put in the
·2· white house to rule or to be the president of this
·3· country.
·4· · · · · · MIKE LINDELL:· Right, right, right.
·5· · · · · · MARY FANNING:· Now, there's a video, and so
·6· that will show.· Are you looking at the video, Mike?
·7· · · · · · MIKE LINDELL:· Yeah.· We're going to pull up
·8· the video, Mary.· Here we go.· We just pulled up the
·9· video.· Wow.· What's going on here with all these lines?
10· · · · · · MARY FANNING:· Well, the video, what you was
11· watching is the surveillance system.· In fact, this is
12· the very surveillance system that was built by people
13· inside this country within the cyber security battle
14· space that built some of this -- built some of these
15· tools that were built to keep this country safe.· But
16· what you're watching is that every line on that drawing,
17· all those moving lines, they represent the IP addresses
18· of what I just showed you on the chart.· So when you
19· understand the hackers IP address and the IP address of
20· the target and the votes that were stolen, every one of
21· those lines that you're watching move across the chart
22· and showing whether they were successful and how many
23· votes they stole.· That documents that.· Every red line,
24· as they turn red as they finish stealing the vote
25· basically, the red lines are all China.


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·1· · · · · · So what you're seeing are the actual files
·2· being received and sent.· That's a documentation of
·3· the realtime theft of our elections.
·4· · · · · · MIKE LINDELL:· Wow.
·5· · · · · · MARY FANNING:· So every line on the map,
·6· there's a corresponding line on the sheet.· And the
·7· color and the line types represent the severity of the
·8· attack.
·9· · · · · · Now, red has been the most severe attacks.
10· Those lines are all coming out of China.· Those are
11· the most severe attacks on our election system.
12· · · · · · MIKE LINDELL:· Wow.
13· · · · · · MARY FANNING:· Now, this exact information,
14· the same exact type of information I should say, was
15· presented to the FBI director, former FBI director James
16· Comey by a whistle blower in 2015.· They knew, in fact,
17· that our election machines were open for hacking.· It's
18· important to understand that there are prismatic scoring
19· algorithms that they knew about that entered the
20· election and they steal the vote at the transcript
21· points.· So at the point where the election -- the vote
22· is leaving the secretary of state's office and these
23· machines, that is the point at which the vote is stolen
24· at the transcript points.· That's what you're watching.
25· Those packets moving is that's realtime documentation of


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·1· the theft of the vote from inside this country, and then
·2· the numbers, the last column, those document exactly the
·3· numbers of votes it shows in some of the cases, Antrim
·4· County where the vote was stolen, and exactly the vote
·5· stolen at the exact time stamp when they were stolen and
·6· the number stolen at that point.
·7· · · · · · MIKE LINDELL:· So Mary, so what you're saying
·8· now, this is what I already know, but actually I'm
·9· learning a lot here as we go.· What you're saying, every
10· one of these lines, let's say we did take Antrim County
11· and we took that.· We could pull out the time stamps for
12· that county, and we could show the lines, the country
13· that did it.· We could show a line for every single
14· hacker attack that we had in this election.
15· · · · · · MARY FANNING:· That's right.
16· · · · · · MIKE LINDELL:· Wow.
17· · · · · · MARY FANNING:· So what you're watching are
18· those objects moving are the actual files that are being
19· received and sent.
20· · · · · · MIKE LINDELL:· These are the squares here that
21· are being sent.· So everybody out there, what you're
22· looking at, I mean, this is the proof.· So if like
23· Antrim County, that case is still open.· You just go
24· here you go.· Now you know who did it, how many votes
25· flipped, when they did it, what time they did it, the


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·1· computer it came from, the country that attacked us.               I
·2· mean, this is what I have been excited about and I'm
·3· only seen one -- do you know, Mary, I only seen one
·4· little line of that would show the IP address, you know,
·5· all that stuff that you're showing us.
·6· · · · · · MARY FANNING:· Right.
·7· · · · · · MIKE LINDELL:· When I found that you had it or
·8· that we had it, that all these people had this for every
·9· single vote, every single attack, and whether it was
10· successful or not.
11· · · · · · Look at right now, we've got up on the
12· screen, Georgia is just getting attacked.· It was
13· just get attacked up here at that moment in time.
14· And I suppose, you know, they know what they're
15· doing.· They did the biggest attack.
16· · · · · · Right here, look at everybody.· Georgia and
17· Michigan getting bombarded.· My guess is that was
18· probably like 3:00 or 4:00 in the morning when they
19· really needed them votes to be flipped.· Mary, this
20· is incredible.
21· · · · · · MARY FANNING:· Yes, because there is proof
22· positive, there is documentation of all the foreign
23· interference into our election showing exactly who stole
24· the vote, how they stole the vote, from which computers,
25· access to our election to which computers they went


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·1· into.· So understand that cyber security experts that
·2· work for this country put all this in place before the
·3· election even started to make sure that they caught all
·4· of this information so that foreign adversaries were not
·5· deciding our elections.
·6· · · · · · MIKE LINDELL:· Absolutely.· And what a
·7· blessing that they were there for us to catch all this
·8· and to get all this together, and even to have these, to
·9· be proactive.· They were proactive everybody, and what a
10· blessing this is because we came this close to never
11· knowing.· This is actually a miracle that we have all
12· this, Mary, and this is amazing.
13· · · · · · · · · · · · · · · *
14· · · · · · STEVEN K. BANNON:· Okay.· Mike, here you're
15· essentially saying because this is basically a
16· declaration of war.· This would be the Chinese Communist
17· Party coming directly to change the outcome of a
18· presidential election.· There could be nothing more
19· serious than this.
20· · · · · · Now, I want to go to what Mary Fanning put
21· up.· The chart looks nice as she's explaining it, but
22· I don't know if people even at home can follow
23· because it's quite complicated.· You know, given that
24· the charges here are so severe, particularly against
25· a foreign government now, and Mary Fanning is a very


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·1· well-known investigative reporter, but it's a very
·2· severe charge.
·3· · · · · · Also you have Dominion.· Once again, they
·4· are adamant every statement they make.· They don't
·5· have servers in Germany, they don't have servers in
·6· Spain.· None of their data, none of the facsimile
·7· ballots, no ballot goes overseas.· In fact, they say
·8· the ballots, the electronic ballots don't even cross
·9· county lines, they're that adamant about it.· So
10· let's go back to Fanning.
11· · · · · · That first chart, do you have back up
12· evidence because really it's still an assertion of
13· hers.· We see the diagram or see the chart, but how
14· do people and other professionals, are you going to
15· put the real material online so that outside groups
16· can look at this and see if she's delivering the
17· goods?
18· · · · · · MIKE LINDELL:· Well, first of all, that first
19· thing with all those lines going back and forth, that's
20· not a computer simulated.· We took that, or they took
21· that and squished in a five-day period and squished it
22· in so you can see all that.· When it takes off here from
23· China and goes to Fulton County, those are all real
24· inside the spy ware thing that these guys have.
25· · · · · · STEVEN K. BANNON:· Okay, fine.· They're


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·1· putting that forward.· Are you prepared to have like you
·2· had Allied came and did the forensic audit in Antrim
·3· County of the Dominion machines.· This is so explosive.
·4· · · · · · MIKE LINDELL:· Steve, let me explain.
·5· · · · · · STEVEN K. BANNON:· You're accusing Dominion of
·6· being a tool of a foreign government that is essentially
·7· done, I believe, an information warfare, an act of war
·8· against the United States of America.· And remember, I
·9· think the Chinese Party would do anything to destroy
10· America.· However, this is so explosive, what are you
11· going to do with Mary Fanning or other people to put
12· forward out there that independent experts can check
13· this out?
14· · · · · · MIKE LINDELL:· Right.· Well, first of all,
15· let's now go to the charts.· I just told you the thing
16· inside the spy ware, okay, that that was switched.
17· · · · · · STEVEN K. BANNON:· Right.
18· · · · · · MIKE LINDELL:· The charts that go across.
19· These charts, the ones that actually come out of the
20· machine or software, whatever it is, I haven't seen it,
21· whether these come out, they're in a language.· It's a
22· footprint in time, and what they did is they took that
23· exact stuff that's on there so you know it's from a
24· computer from the spy ware that the government has, and
25· then we put it into these things.· And when you see up


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·1· there that Mary went through and said IP address,
·2· computer ID.· Now what we've done, or what these guys
·3· did, another group, has went over, and we've went and
·4· validated all these computers that are in there, not all
·5· of them, but enough where we're going wow, this is real.
·6· That was the something I wanted done.· I wanted it done.
·7· I wanted to see --
·8· · · · · · STEVEN K. BANNON:· Hang on.· That's not clear.
·9· That's not clear from --
10· · · · · · MIKE LINDELL:· I'm getting there.· I'm getting
11· there.· I'm just telling you what I did for my due
12· diligence.· So these computers all match up.· And yeah,
13· you could have went around the world, I guess, and went
14· and looked at computer ID and you could have looked up
15· an IP address and did that.
16· · · · · · The things that back these up, once they
17· get before the court, once this would get to the
18· Supreme Court, then you're going to get the actual
19· prints that have a time stamp on it, that have a
20· government stamp on there, and there's three or four
21· people, actually three that are whistle blowers.
22· These are government intel people that work there.                 A
23· couple of them still work there, and they're not
24· going to come out and say -- right now and put it all
25· up and say right now they're going to know who did


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·1· it.· These people are exposing everything.· So when
·2· this gets before the courts that's when it comes out.
·3· I can't put this stuff up.· This stuff up there --
·4· · · · · · STEVEN K. BANNON:· Okay.· What happens if it
·5· doesn't.· For a host of reasons look, so far the track
·6· record of the courts taking this up is that they're not
·7· taking this up for whatever reason.· They don't want to
·8· get involved, they want to look the other way.· That's
·9· for people to make the decision why they're not.· If
10· this does not get into the courts, I think this next
11· ruling is on the 22nd.· Are you prepared to put the
12· independent guys you had take a look at this, can you
13· start to get the information out here, Mike, because
14· Mary Fanning claims this is the greatest cyber attack in
15· world history.
16· · · · · · MIKE LINDELL:· No, this --
17· · · · · · STEVEN K. BANNON:· The greatest cyber attack
18· in history, so are you going to somehow try to get some
19· additional information out there?
20· · · · · · MIKE LINDELL:· No.· I'm claiming it's the
21· greatest cyber attack, and then you're going to see
22· people come and write up.· There's a general that's
23· going to validate it.· He's going to validate it.· He's
24· coming on right now where he's going to tell you what
25· you just seen.


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·1· · · · · · But I will tell you this.· I will say if
·2· this doesn't get out, no matter what, I will get it
·3· out there so the public can see it, and I tell your
·4· this.· I will get it to Dominion, Smartmatic, even if
·5· I have to go sue them so the evidence has to get
·6· pulled out so that we save our country and save --
·7· this was the biggest crime against humanity and the
·8· world really.· Everybody's watching this.
·9· · · · · · So you can either say for me, I can tell
10· everyone out there, I went all in.· There's not even
11· a little sliver of wiggle room for anybody to
12· discredit what I know and what we have.· And I will
13· say this.· I will tell you this.· There's a reason
14· all the media -- there's a reason that they're
15· crickets.· There's a reason when you put this out
16· there that it gets suppressed.· There's a reason they
17· don't let us look at anymore machines other than the
18· one in Antrim County.· There's a reason for that.
19· · · · · · This isn't about Democrats and Republicans
20· anymore.· This is about our country.· What I have
21· just shown you I have done my due diligence on.· And
22· you know what, all of you, if it doesn't get through
23· the courts and stuff some way or another, but you
24· wouldn't know if a government sheet like this came
25· out.· The government people know this.


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·1· · · · · · The guy that's coming on next can tell you
·2· exactly what this is, and this general, he can tell
·3· you exactly what you just seen.
·4· · · · · · STEVEN K. BANNON:· Let me ask two other things
·5· before you go to the next section.· Colonel Waldron said
·6· very early on that Dominion, the private equity firm
·7· that owns Dominion has been bought by the Chinese.· Will
·8· you also put all that information, allow Colonel Waldron
·9· to put out all the information out about the private
10· equity firm because I think Dominion denies that that.
11· Can you put out all the information Colonel Waldron said
12· about the private equity firm.· And one other thing is
13· that Director of National Intelligence by executive
14· order owed the president a full response from an
15· executive order signed I think in 2018, a full report of
16· any foreign intervention in the last election.· It was
17· delayed.· I think it came out in the last days of the
18· administration, and the CIA, you know, and kind of held
19· it back.· But when DNI came out and said that China did
20· intrude into the 2020 election, people were led to
21· believe that that might have been the Wu Mau 50 Cent
22· Army or some social media, not a cyber attack at this
23· level to change the election.· The DNI was Congressman
24· Ratcliffe is very close to President Trump.· Don't you
25· feel kind of squeamish when the director of national


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·1· intelligence at least hasn't backed up that yes, there
·2· was Chinese involvement, but he certainly doesn't say
·3· that there was Chinese involvement on a cyber attack as
·4· you say, the greatest cyber attack in world history.
·5· Mike Lindell, what do you say?
·6· · · · · · MIKE LINDELL:· I say this is what this whole
·7· documentary is for, and what they had back down there,
·8· he said this.· He probably didn't know how big this
·9· really was.· You know, he probably didn't know.
10· · · · · · This is everything we stand for, the
11· American dream.· Every single thing from here to
12· eternity is right now.· If we don't make a stand
13· right now because everything you've seen and you've
14· seen, this was the biggest cyber attack and people
15· should know.
16· · · · · · STEVEN K. BANNON:· You're saying our
17· intelligence services you don't believe have the
18· investigate apparatus, or even Mary said she's gained
19· some of this from people inside the system, that they
20· don't understand what Mary Fanning and her other
21· investigators are talking about that even got this
22· information or they're suppressing it?
23· · · · · · MIKE LINDELL:· Oh, absolutely they've
24· suppressed it.· Come on.· Just look at all the stuff
25· we've seen here tonight.· I mean, they're suppressing


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·1· it.· Why do who you think they're trying to suppress me?
·2· I mean, it would be very easy to say come on, Mike,
·3· we'll open up the machine and show you.· Come on, Mike.
·4· None of your stuff is any good.
·5· · · · · · Do you know, when we put up absolute proof,
·6· Facebook changed it from completely false to
·7· partially false.· Well, that means it's partially
·8· true.· And I'll tell you what.· If you've got to
·9· think about that everybody, if it's so bad why
10· wouldn't the news out there, instead of saying for
11· three weeks Mike Lindell has no evidence.· He's back
12· on crack, blah, blah, blah.· Instead, all of a sudden
13· it's crickets.· It's cricket on Friday because you
14· know, what every one of you's got to get this out
15· there because everything you've seen there is one
16· hundred percent proof, and you know what.· You can
17· say well, Mike, show us, more show, us more.· It will
18· all come out.
19· · · · · · I'm just telling you this is real.· You
20· know, all this stuff will you come out but it's got
21· to get to a court.· And if it doesn't, trust me, it
22· will come out and then the proof will come out and
23· then the truth will come out and we'll finally find
24· out why the questions you're asking Steve, how come
25· our own intel, how come the FBI, the Department of


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·1· Justice, why didn't anybody do anything.
·2· · · · · · You know, somebody put out the other day
·3· why did the Mike pillow guy have to come up with all
·4· this.· I did my own due diligence, but people came to
·5· me because I have the only voice left because
·6· everybody else got it pressed.· That's it.
·7· · · · · · STEVEN K. BANNON:· Okay.· We've got an
·8· American hero coming on, General McInerney.· Let's hear
·9· what general McInerney has to stay to back up Mike
10· Lindell.· General McInerney.
11· · · · · · · · · · · · · · · *
12· · · · · · MIKE LINDELL:· And now we have with us General
13· McInerney who is going to give us a prospectus on what
14· we just seen.· General, thanks for coming on.
15· · · · · · GENERAL McINERNEY:· Well, thank you, Mike, and
16· thanks for what you're doing for this great nation.
17· This is vitally important.· You have just seen the most
18· massive cyber warfare attack in the history of mankind.
19· · · · · · Now, the founding fathers did not know
20· anything about cyber warfare, but we do, and that's
21· the important thing.· You have seen just how it was
22· or orchestrated against our election system, and I
23· took an oath of office 60 some years ago on the
24· plains of West Point to support and defend the
25· Constitution of the United States against all enemies


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·1· foreign and domestic.
·2· · · · · · We now are seeing the largest domestic
·3· enemy we have in our history, and people must
·4· understand that.· What happened?· You spelled submit
·5· spelled it out.· It was driven by China, and they
·6· used a system that we have had because only that
·7· system could modulate and coordinate the many cyber
·8· attacks that they used against us.
·9· · · · · · Why this is so important is because our
10· military, which I spent 35 years in the Air Force and
11· ended up as the number three man in the air staff, as
12· well as heading up Vice President Gore's reinventing
13· government for the entire Department of Defense,
14· those two jobs simultaneously, we now are faced with
15· something our military has never seen before, nor
16· have the American people.
17· · · · · · We are going against globalists who are not
18· interested in America.· They are interested in us
19· becoming a socialist communist state.· They talk
20· about progressivism, but progressivism is just the
21· front door to Communism.· They want a global
22· Communist word and you must understand that, America.
23· It's so important, and it's so important that
24· President Trump who won 79 million votes in the
25· election to 68 million for Biden because we have and


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·1· you've seen those exact numbers, he dominated.· It
·2· was an awesome victory, and yet they turned it
·3· around, foreigners, and we have not had one audit.
·4· This is the closest thing to an audit that has been
·5· conducted in America on this important election.
·6· · · · · · The American people must understand what we
·7· are facing today, and that's why all of us here that
·8· you're seeing in this program are so focused.              I
·9· could not understand was that the legislatures, the
10· judicial and the executive, meaning the FBI, the
11· Department of Justice, the intelligence community,
12· have failed us with deep staters.· They did not
13· report this.· This was the most massive cyber warfare
14· attack.· So did cyber command, did the national
15· Security Agency, did the CIA, did the Department of
16· Justice, the FBI report this, no.
17· · · · · · MIKE LINDELL:· Well General, to put this in
18· perspective then, you're one hundred percent that this
19· was the biggest cyber attack in world history, correct?
20· · · · · · GENERAL McINERNEY:· That's correct.
21· · · · · · MIKE LINDELL:· Wow.· Well, thank you.· I was
22· telling everyone, General, when this is all revealed
23· it's going to be a great uniter of all people in our
24· country, and we're going to be in the greatest revival
25· ever to bring our country back to one nation under God.


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·1· Thank you.
·2· · · · · · GENERAL McINERNEY:· Well, God bless you for
·3· what you're doing, Mike.· God bless you.
·4· · · · · · MIKE LINDELL:· Yeah.· Thank you, General.
·5· · · · · · · · · · · · · · · *
·6· · · · · · STEVEN K. BANNON:· So Mike, this is very
·7· scary.· The general is such a renowned guy.· He talks
·8· about domestic enemies had to somehow work on this.
·9· People want to know, where is your investigation going
10· to go from here?
11· · · · · · MIKE LINDELL:· Well, I'm glad that a general
12· that was in charge of all the nuclear weapons for the
13· Pentagon is telling everyone exactly what I've been
14· telling them.· This was the biggest attack ever in
15· history on our country, and you had to have a lot of
16· domestic enemies here.· That will all be found out.
17· · · · · · What we need to go from here is we need to
18· reach out and get this out far and wide, get the news
19· out there, the real news.· Once everybody knows this,
20· then we can -- the Supreme Court, I've said
21· throughout this film, the Supreme Court, there's nine
22· of them.· They're all watching this at home.· That's
23· the last line of defense to protect our country.
24· · · · · · We need -- this was an attack on our
25· country and we're right in the middle of it right


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·1· now.· So everybody has to just get it out there
·2· first, and then they've got the absolute proof out
·3· there, and then the absolute truth will be told.
·4· · · · · · · · · · · · · · · *
·5· · · · · · MIKE LINDELL:· And now we have Terry Turchie.
·6· He's the former deputy assistant director of
·7· counterterrorism division of the FBI.· And you know,
·8· Terry, welcome to the show.
·9· · · · · · TERRY TURCHIE:· Thanks, Mike.
10· · · · · · MIKE LINDELL:· We've just shown everybody in
11· the world one hundred percent evidence that this was an
12· attack on our country, and it's still under attack by
13· China and other countries through the use of these
14· machines used in our election.· I want to ask you, you
15· know, where was the FBI.· People out there want to know
16· where was the FBI or the DOJ the whole time during these
17· last few months?
18· · · · · · TERRY TURCHIE:· Sure.· Well, you know, a lot
19· of former FBI agents are asking that too as well, Mike.
20· They're asking where's the FBI been.· They're
21· responsible and accountable for trying to protect the
22· country.· That's what our counterintelligence money is
23· all about.· That's what our counterintelligence division
24· is all about.· And yet the question of where were they
25· and where are they I think probably can best be


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·1· explained like this.
·2· · · · · · The FBI has most likely been as compromised
·3· as the Democratic Party and the rest of the
·4· government.· They simply didn't do the job.· If
·5· they'd have done the job, all that you just showed in
·6· this program would have unfolded inside of a
·7· courtroom, and that's exactly what we should be doing
·8· right now.· We should be talking about the
·9· penetration of the United States Government and
10· government agencies.
11· · · · · · MIKE LINDELL:· We've shown here too, this is
12· all people.· What we've shown today, this is another
13· country taking our country.· I don't care if you're a
14· Democrat or a Republican.· We are one nation under God.
15· To see -- I mean, I guess I'm very happy now that it's
16· all going to get out to the country and everything's
17· going to get out.· And like I said before during our
18· show, there's been nine Supreme Court justices out there
19· now watching this show and saying wow, one hundred
20· percent this was an attack, and we are still under
21· attack by other countries, including China leading the
22· way and, you know, they fraudulently stole our election,
23· and we have to -- and then to see that how this could
24· happen with the FBI and the DOJ, these people that were
25· supposed to protect our country, including the Supreme


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·1· Court.
·2· · · · · · If you were still in the FBI, I guess what
·3· would you be doing right now when you just see all
·4· this one hundred percent proof here that this
·5· happened?· In the FBI now if they're out there,
·6· shouldn't they be doing something now that this is
·7· all out in the open?
·8· · · · · · TERRY TURCHIE:· We would be launching a major
·9· investigation of cyber activity.
10· · · · · · MIKE LINDELL:· These attacks, the people that,
11· you know, from China and on down and who did it, they're
12· very good at trying to bury everything, to bury these
13· deviations that came up, and then everything opened up
14· where everybody knows that this was stole, but now we
15· know how and why so.
16· · · · · · TERRY TURCHIE:· Well, certainly.· And the
17· purpose of an intelligence operation of this magnitude,
18· whether it's this magnitude or even smaller is to
19· conceal itself, and to be so hard to figure out that by
20· the time you get to the conclusion it's too late.
21· · · · · · MIKE LINDELL:· Right.
22· · · · · · TERRY TURCHIE:· And that's why it's very
23· concerning that the FBI that already knows and has the
24· foundation of the China threat well in its grasp would
25· try to write off or just not seem to understand how this


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·1· would have been the next logical step for them.
·2· · · · · · MIKE LINDELL:· Right.· Well, they weren't
·3· proactive, but at least now, you know, we're going to be
·4· reactive, and we've got to be reactive first, and then
·5· we've got to be proactive for the future when this all
·6· manifests out.
·7· · · · · · I've said it before that this is going to
·8· manifest into the greatest revival ever.· It's going
·9· to unite our country, not divide us.· It's going to
10· be the great uniting, and we will once again be one
11· nation under God.
12· · · · · · ·Thanks, Terry, for coming on and God
13· bless, and thanks for all you've done and what you
14· continue to do for our country.
15· · · · · · TERRY TURCHIE:· You too, mike.· Thanks for
16· having me.
17· · · · · · MIKE LINDELL:· Thank you.
18· · · · · · Now you've all seen absolute proof of the
19· biggest cyber attack in history.· Right now it's a
20· takeover of our country.· We all see it happening,
21· and now you see the proof of where it came from and
22· what happened.· We all need to go out now, each and
23· every one of you, and tell your friends, family,
24· people, your social media.· Spread this out
25· everywhere and to show that they all need to watch


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·1· this and they all need to know the truth, and pretty
·2· soon everyone's going to see this including nine
·3· Supreme Court justices.· You're all there watching,
·4· all nine of you.· And you know what, I don't know
·5· what you can do, but I know you're there to protect
·6· our country, and everything has a precedence.· This
·7· happened then, so we're going to base it on that.
·8· This is the precedence.
·9· · · · · · What's going on now, what's going to happen
10· now is going to change the course of our world and
11· our country forever.· I've been getting calls from
12· world leaders, you know.· They're looking at us,
13· what's going to happen over here.· Ronald Reagan once
14· said America is the shining city on the hill whose
15· beacon light guides freedom-loving people everywhere.
16· If the lights go out here, the lights go out
17· everywhere.
18· · · · · · I want to say that God has had his hand in
19· all of this.· This has been on God's timing, and when
20· we get through all this we will once again be one
21· nation under God.
22· · · · · · (End of recording.)
23
24
25


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·3· · · · · · I, Charlotte Crandall, certify that I was

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·5· recorded proceedings and that the transcript is a

·6· true and complete record of my stenographic notes

·7· from an audio recording and was transcribed to the

·8· best of my ability.

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10· · · · · · Dated this 14th day of February, 2021.

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